Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 1 of 182 PageID 1311




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


DR. DEREK MELBY, and DANILO §
POLICARPIO as individuals and on behalf of §
all others similarly situated              §
                                           §
        Plaintiffs,                        §               Civil Action No. 3:17-CV-155-M
                                           §
v.                                         §               consolidated with
                                           §
AMERICA’S MHT, INC., SCOTT POSTLE, §                       Civil Action Nos. 3:17-CV-732-M;
ASCENTIUM CAPITAL, LLC, and §                              3:17-CV-868-M; and 3:17-CV-963-M
CLIFF MCKENZIE                             §
                                           §
        Defendants.                        §

 APPENDIX TO PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEY’S FEES
        AND EXPENSES AND MEMORANDUM OF LAW IN SUPPORT

         Pursuant to Local Rule 7.1, Plaintiffs file this Appendix to their Motion for Attorney’s

Fees and Expenses and Memorandum of Law in Support:


   EXHIBIT                              DESCRIPTION                                 APP. NO.

 Ex. 1             Declaration of Donald C. Massey in support of motion        App No. 1-37
                   for (1) final approval of settlement; and (2) approval
                   of class counsel’s motion for an award of attorney’s
                   fees and reimbursement of expenses
 Ex. DM-1          MHT Settlement Opinion from Courcelle Consulting            App No. 38-40

 Ex. DM-2          February 6, 2018 letter from counsel for Ascentium          App No. 41-42
                   Capital, LLC regarding non-issuance of Forms 1099
                   to doctors
 Ex. DM-3          February 6, 2018 letter from counsel for Univest            App No. 43-44
                   Capital, Inc. regarding non-issuance of Forms 1099 to
                   doctors
 Ex. DM-4          Billing and cost reports of Smith Haughey Rice &            App No. 45-65
                   Roegge and counsel Kirk Morgan


                                                  1
Case 3:17-cv-00155-M Document 100 Filed 03/11/18              Page 2 of 182 PageID 1312



Ex. 2          Declaration of Robert E. Couhig, Jr.                   App. No. 66-70

Ex. RC-A       Billing and expense report of Couhig Partners, LLC     App. No. 71-154


Ex. 3          Declaration of Leon Carter                             App. No. 155-158

Ex. LC-A       Carter Scholer identification and background           App. No. 159-168
               information
Ex. LC-B       Billing and expense report of Carter Scholer           App. No. 169-179


Date: March   , 2018                                    Respectfully submitted,
                                                        /s/ Jonathan P. Lemann
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Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 3 of 182 PageID 1313


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                                                            ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE
       I hereby certify that on March __, 2018, a true and correct copy of the foregoing Appendix
was served on all counsel of record through the Court’s electronic filing system.


                                                            /s/ Jonathan P. Lemann
                                                            Jonathan P. Lemann




                                                3
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 4 of 182 PageID 1314




                              Exhibit 1




                                                                    App. No. 001
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 5 of 182 PageID 1315




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 DR. DEREK MELBY, and DANILO §
 POLICARPIO as individuals and on behalf of §
 all others similarly situated              §
                                            §
         Plaintiffs,                        §              Civil Action No. 3:17-CV-155-M
                                            §
 v.                                         §              consolidated with
                                            §
 AMERICA’S MHT, INC., SCOTT POSTLE, §                     Civil Action Nos. 3:17-CV-732-M;
 ASCENTIUM CAPITAL, LLC, and §                            3:17-CV-868-M; and 3:17-CV-963-M
 CLIFF MCKENZIE                             §
                                            §
         Defendants.                        §




                   DECLARATION OF DONALD C. MASSEY
     IN SUPPORT OF MOTION FOR (1) FINAL APPROVAL OF SETTLEMENT;
     AND (2) APPROVAL OF CLASS COUNSEL’S MOTION FOR AN AWARD OF
           ATTORNEY’S FEES AND REIMBURSEMENT OF EXPENSES



       I, Donald C. Massey, hereby declare:

       1.      I am a lawyer with the firm, Couhig Partners, LLC, one of the firms acting as Class

Counsel in this litigation. I have personal knowledge of the matters set forth in this declaration

and, if called to testify, could and would competently testify about them. I submit this declaration

in support of Plaintiffs’ motion, under Federal Rule of Civil Procedure 23(e), for (a) final approval

of the class action partial settlement; and (b) Class Counsel’s application for attorney’s fees and

reimbursement of expenses.




                                                                                          App. No. 002
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 6 of 182 PageID 1316



I.         INTRODUCTION

           2.      This class action has been brought by committed, experienced, and skilled

plaintiffs’ counsel and has conferred benefits upon class members as envisioned by Federal Rule

of Civil Procedure 23. Plaintiffs’ counsel vigorously prosecuted this case in the best interests of

the Class. Defendants asserted their legal and factual defenses and expressed their belief that

named Plaintiffs could not prevail in this matter through several challenges and pleadings.

           3.      The settlement was reached only after Class Counsel: (a) conducted an independent

and extensive factual investigation; (b) reviewed and analyzed publicly-filed financial statements;

(c) reviewed and analyzed voluminous media files concerning America’s Medical Home Team

(“MHT”), and the “Lender Defendants” (Ascentium Capital, LLC, Univest Capital, Inc. and

Balboa Capital Corp.1) including any available public statements issued by or materials pertaining

to the companies; (d) thoroughly researched the law pertinent to the claims and potential defenses

asserted; (e) filed five detailed and comprehensive Complaints; (f) defended against a motion to

dismiss the Complaint; (g) established an extensive factual record in this matter through a motion

for injunctive relief, which mounted considerable pressure on MHT and which the undersigned

believe was instrumental in its abandonment of its Ponzi scheme; (i) reviewed and analyzed all of

the documents received from third parties; (h) interviewed and obtained extensive factual

information from multiple former MHT employees, contractors and others; (j) consulted with

experts to conduct the most favorable deal and understand its impact (k) attended MHT

Bankruptcy creditors’ meeting in the MHT Bankruptcy proceeding and cross-examined MHT

CEO Scott Postle; (l) participated in a lengthy mediation session with a skilled Dallas-based

mediator; (m) continued negotiations with counsel for Settling Defendants for more than a month;



1
    Hereafter, “Ascentium,” “Univest,” and “Balboa.”


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                                                                                         App. No. 003
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 7 of 182 PageID 1317



and (n) successfully negotiated, at arm’s length, a highly favorable partial settlement for the Class;

(o) continuously engaged in numerous discussions with class members as well as counsel retained

by several class members privately and outside of class actions, to explain status, settlement

discussions and proposed settlement.

       4.      As detailed below, this case was extensively litigated. The parties participated in a

mediation before well-regarded Dallas-based mediator Christopher Nolland, and then engaged in

follow-up calls, conferences and meetings. Despite diametrically opposed views on the merits, the

parties were able to ultimately arrive at a settlement of the litigation for certain non-monetary

injunctive relief and the release of alleged guaranty obligations which the Defendants value at

approximately $52 Million. In exchange, Ascentium and Univest would receive a return of

approximately $15 Million in settlement payments. Subsequently, the parties negotiated the

remaining terms of the settlement, including other favorable aspects such as an early payment

discount, extended payment terms rather than an immediate cash payment, prohibition on negative

credit reporting by Settling Defendants against class members for actions or inactions up to the

time of the settlement, and a cash payment to class members subject to claims as guarantors for

Balboa Capital loans. The settlement terms were documented in the Stipulation of Settlement dated

September 26, 2017 (the “Stipulation”) and which the Court preliminarily approved. Notably, and

as detailed below, the issue of attorney’s fees was not addressed or negotiated until after the

principal terms of the settlement were agreed among the parties.

       5.      Although the partial settlement of this case was within a year of filing the initial

complaint, it is the product of time-consuming, intensive investigation and analysis, aggressive

litigation, and sophisticated negotiations. It was negotiated on both sides by experienced counsel

with a firm understanding of the strengths and weaknesses of their clients’ respective claims and




                                                  3
                                                                                           App. No. 004
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 8 of 182 PageID 1318



defenses. The settlement confers an immediate and substantial benefit on the Class and eliminates

the risk of continued litigation, the outcome of which could not be assured.

       6.      While the settlement does not end the entirety of the action, it does conclude a major

portion of it. Balboa upon information and belief has IPA guarantees at issue that it values at more

than $5 million. The bankruptcy of MHT also complicates the ability to resolve the remaining

portion of this case.

       7.      On November 22, 2017, the Court preliminarily approved the settlement (the

“Preliminary Approval Order”) and established a schedule for final approval. Notice of the

settlement terms was sent to more than 280 individual and institutional Class Members. Pursuant

to the Preliminary Approval Order, the deadline for objecting to any aspect of the settlement or

Plaintiffs’ counsels’ application for attorney’s fees was February 26, 2018. R.Doc. 64. To date,

only ten distinct objections on behalf of fourteen objectors to the settlement have been filed as

required by the Court’s Order. Additionally, 78 individual or corporate entities have filed timely

opt out requests. R.Doc. 90. We respectfully submit that the low number of objections and opt

outs is strong validation of the reasonableness of the settlement and Class Counsels’ attorney’s fee

and expense application. The number of exclusions overall exceeds the threshold such that

Ascentium has the option to terminate the proposed Stipulation. Even so, we respectfully submit

that the number of opt outs is both low and given the nature of the settlement it remains highly

advantageous to the class members.           Similarly, Class Counsel’s attorney fee and expense

application proposes attorney’s fees that are sensible fair and well in proportion to Class Counsel’s

services and a small percentage of the value that the settlement brings to the class.

       8.      Ascentium has agreed to not exercise its termination rights under paragraph 57(C)

of the Stipulation for excessive opt outs.




                                                   4
                                                                                          App. No. 005
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 9 of 182 PageID 1319



       9.      Finally, this declaration is submitted in support of the application by Class Counsel

for an award of attorney’s fees and reimbursement of expenses, plus interest. Class Counsel

devoted several thousand hours to the prosecution of this litigation. Class Counsel expects to

present support at the Fairness Hearing for a total Lodestar based fee award of $2,300,000, (which

will be inclusive of all Class Counsel fees and expenses, requested incentive awards, and the fees

and expenses of two other firms providing common benefit services discussed below). While the

Stipulation provides for a fee submittal in the range of $2,000,000 to $4,500,000, Class Counsel

has agreed to seek an award of $2,300,000, subject to Court approval, and Ascentium has agreed

to not object to such an amount or argue for a lesser amount.

       10.     Class Counsels’ representation is on a contingent basis. Counsel committed

substantial amounts of resources to the litigation, working long hours, notwithstanding the

significant uncertainty as to whether the litigation would succeed. Counsels’ efforts have now

produced a remarkably good and expeditious result for the Class. The fee requested is within the

range of fees awarded by this Court as well as district courts within the Fifth Circuit and federal

courts across the country.

       11.     The following paragraphs discuss in greater detail the nature of the claims asserted,

the principal proceedings to date and the legal services provided by Class Counsel, the settlement

negotiations, the terms of the settlement, why the settlement is fair and in the best interest of the

Class, and the reasonableness of Class Counsels’ attorney’s fee and expense request.

II.    HISTORY OF THE ACTION

       A.      Summary of Named Plaintiffs’ Claims

       12.     This is a class action brought on behalf of all persons who are currently listed in

Ascentium’s, Univest’s, Balboa’s, and/or MHT’s books and records as a Guarantor and/or as an




                                                 5
                                                                                          App. No. 006
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                         Page 10 of 182 PageID 1320



owner of a Doctor LLC. The Class members have and continue to vigorously deny any

accountability, responsibility of control for or over the “Doctor LLCs.” Settling Defendants claims

and class members agreement to settle are premised on the equivalent of the settlement payment

of a guaranty claim on a single IPA.2

        13.      The class action claims arise from a scheme run by MHT to induce physicians to

participate in a program in which they would purportedly earn vast profits for supervising nurse

practitioners rendering in-home health care services to patients.

        14.      MHT sold licenses and equipment to the physicians, through LLCs that MHT

created for them (“Doctor LLCs”). The licenses and equipment were financed by Ascentium,

Univest, or Balboa with personal guaranties from the individual physicians. Plaintiffs have

maintained that the whole process was fraught with misrepresentations and the program only

sustained itself by inducing new physicians to join the program.

        15.      Plaintiffs have contended that the physicians were duped through a fraudulent

enterprise in which each physician’s alleged “Doctor LLC” unknowingly bought typically

$300,000-worth of (a) “licenses” to start an MHT medical practice that never became profitable

(and usually not even operational), and (b) “software” that was generic and never put to use. The

Lenders funded the purchases, and, in return, received an installment payment plan calling for

personally-guaranteed payments, typically totaling $458,136 over the course of five-and-a-half

years, in return for their $300,000 expenditure.

        16.      Plaintiffs have contended that each “purchase” has been the product of fraud.

MHT’s salespeople represented that (a) start-up costs (sometimes referred as a line of credit) were

offered by Paul Allen’s Ascentium, (MHT’s financial partner), in the amount $75,000 per practice;


2
 Note that the class members maintain that the IPAs were procured by the fraudulent acts and conduct of MHT and
persons acting on its behalf.


                                                       6
                                                                                                    App. No. 007
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 11 of 182 PageID 1321



(b) until the first “practice” was up and running these costs (or lines of credit as MHT and persons

acting for it referenced the IPAs) would not extend beyond the $75,000; (c) no physician would

ever have to make payments on these loans or any line of credit; (d) a license could be returned at

any time through a “novation” in which it is resold to another willing participant; (e) MHT handled

everything other than supervising the medical treatment; (f) proprietary software was included due

to Centers for Medicare and Medicaid Services (“CMS”) requirements; and (g) there would be no

fees or interest associated with the acquisition of the license.

       17.     None of these representations were true, and each Plaintiff contended that he or she

would not have participated in the MHT program had the Defendants not misrepresented the facts.

       B.      Procedural Background

       18.     On January 17, 2017, Derek Melby and Danilo Policarpio, individually and on

behalf of all others similarly situated, commenced a class action in the United States District Court

for the Northern District of Texas against MHT, Scott Postle, Ascentium, and Cliff McKenzie,

which was docketed as Case No. 3:17-cv-00155.

       19.     On March 13, 2017, Vijay Kumar and Donnielle Green, individually and on behalf

of all others similarly situated, commenced a class action in this Court against MHT, Scott Postle,

Ascentium, and Cliff McKenzie, which was docketed as Case No. 3:17-cv-00732.

       20.     On March 28, 2017, Priti Bhagia, individually and on behalf of all others similarly

situated, commenced a class action in this Court against MHT, Scott Postle, Univest, and Cliff

McKenzie, which was docketed as Case No. 3:17-cv-00868.

       21.     On April 5, 2017, Jaideep Patel, individually and on behalf of all others similarly

situated, commenced a class action in this Court against Scott Postle, Balboa, and Cliff McKenzie,

which was docketed as Case No. 3:17-cv-00963.




                                                  7
                                                                                          App. No. 008
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 12 of 182 PageID 1322



          22.   On April 17, 2017, the Court entered an order consolidating the four cases under

Case No. 3:17-cv-00155 and closing the other three cases. The Court further ordered Plaintiffs to

file an amended complaint setting forth all their claims against all defendants in the consolidated

action.

          23.   In compliance with the Court’s order, Derek Melby, Danilo Policarpio, and Jaideep

Patel filed a First Amended and Supplemental Class Action Complaint on September 18, 2017,

setting forth claims against MHT, Scott Postle, Ascentium, Cliff McKenzie, Univest, and Balboa.

The Plaintiffs again demanded trial by jury. The claims include violations of the Texas Deceptive

Trade Practices Act, declaration of equitable estoppel, declaration of unenforceability of contracts,

declaration of unconscionability, and RICO causes of action.

          24.   On November 22, 2017, the District Court entered an order preliminarily approving

a class settlement between the plaintiffs and Ascentium, Univest, and Cliff McKenzie. R. Doc. 64.

The Court conditionally certified a settlement class for settlement purposes only, conditionally

appointed the plaintiffs, Derek Melby, Danilo Policarpio, and Jaideep Patel, as class

representatives, and conditionally appointed Plaintiffs’ counsel as Class Counsel. This conditional

settlement does not include the Plaintiffs’ claims against MHT, Scott Postle, or Balboa.

          25.   The Court set a hearing on the fairness, reasonableness, and adequacy of the

proposed settlement for March 12, 2018. R. Doc. 64.

          26.   On December 27, 2017, Dr. David Guillot, individually and on behalf of all others

similarly situated, filed a motion to intervene along with a complaint in intervention in which he

sought to be added as a named class representative into as a representative of Subclass Three. R.

Doc. 67.




                                                 8
                                                                                          App. No. 009
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 13 of 182 PageID 1323



       27.     On January 4, 2018, the District Court entered an order allowing Dr. Guillot to

intervene in t he action as a proposed class representative. R. Doc. 68.

       C.      Proceedings in U.S. Bankruptcy Court

       28.     On May 15, 2017, MHT filed a petition for relief under chapter 7 of the U.S.

Bankruptcy Code.

       29.     On May 19, 2017, the District Court entered an order in the consolidated class

actions that the automatic stay was in effect with respect to MHT.

       30.     On November 28, 2017, the Bankruptcy Court entered an order fixing February 26,

2018 as the deadline for filing proofs of claims by non-governmental creditors.

       31.     On February 26, 2018, Class Counsel has filed a proof of claim on behalf of the

Class, attaching their Complaints from the consolidated class action. See In re: America’s MHT,

Inc., No. 17-41047 (Bankr. E.D. Tex.) Claim No. 149 and R. Doc. 170.

       D.      The Class Action Litigation and Efforts of Class Counsel

       32.     Class Counsel became involved in the investigation of the MHT Ponzi Scheme in

December of 2016, when a physician from Pittsburgh alerted them that a national scam was

underway. Class Counsel spent the next several weeks reviewing contracts and related documents,

reviewing online materials, locating potential fact witnesses and engaging in multiple discussions

with physicians involved in the MHT program. Class Counsel spent many weeks analyzing the

most appropriate litigation approach, venue, and procedure. Class Counsel continued discussions

with multiple physicians both as potential clients, class members and witnesses, and began making

contacts with what would soon turn into an important network of former MHT employees and

consultants. Over the next several months, multiple individuals formerly associated with MHT

cooperated with Class Counsels’ investigations to assist in what both Class Counsel and the former




                                                 9
                                                                                       App. No. 010
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 14 of 182 PageID 1324



employees and contractors perceived as significant wrongs perpetrated on unwitting doctors.

These contacts and the evidence obtained through them would drive this early partial settlement.

       33.     Plaintiffs’ Complaint for a class action filed on January 17, 2017 apprised this Court

of MHT’s pyramid/Ponzi/fraudulent scam. The Complaint seeks a declaration that MHT’s and

Ascentium’s guarantee agreements are null and void and seeks to enjoin MHT and Ascentium

from enforcing their purported agreements with Plaintiffs and those similarly situated. The

gravamen of the Complaint is that MHT and its principals promise unsuspecting physicians a

lucrative side practice which captures an untapped market at no cost to them. The promises are

misleading at best and are better described as outright lies as the practices offered were not

sustained through operations. Rather, the practices were sustained only through further sales to yet

more unsuspecting physicians.

       34.     After the filing of the Complaint, Class Counsel continued to develop facts, began

conferring with a handful of other attorneys from across the country who represented physicians

and physician LLCs in MHT related litigation, and offered to coordinate strategy with them.

       35.     In the midst of the continued investigation, Class Counsel learned that MHT

employees were ordered to sign documents for physicians and cover up unsigned documents

purporting to bind the physicians. Class Counsel learned that in December of 2016, key executives

and consultants of MHT resigned or attempted to resign on the basis of knowledge that MHT was

running on proceeds from membership sales and not Medicare or home-care revenue. Further,

through their investigation, Class Counsel learned that in order to sustain itself, MHT continued

to market itself and prey upon unsuspecting physicians. Several of these key officers made known

their disagreement with MHT’s continued operations and resigned as a result.




                                                10
                                                                                          App. No. 011
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 15 of 182 PageID 1325



       36.     Further, Class Counsel learned that MHT secured a new “financial partner,”

Balboa, around this late 2016 period and was preparing to engage in further marketing and sales

of MHT program “licenses” and software, with this new source of financing. Class Counsel

learned that MHT intended to favor repayment to this new financial partner, Balboa, from new

sale proceeds to the detriment of Ascentium because physicians indebted to the new financial

partner were “currently the better source of recruitment.” These ill practices would have expanded

the fraudulent Ponzi scheme and prejudiced an unknown number of innocent doctors.

       37.     Class Counsel also discovered that MHT, in late 2016, proposed a new corporate

structure to include “equity” opportunities to participating physicians and a model that stressed a

need for recruitment of local colleagues. Class Counsel learned that MHT was unable to meet its

payroll obligations for those nurses and staff that it hired to service the physician LLCs, and that

it notified its participating physicians that the payroll failure stemmed from “money from sales to

Balboa lending company” which had not been received that month.

       38.     As a result of these troubling developments, Class Counsel moved for a temporary

restraining order and preliminary injunction to put an end to the scheme.

       39.     The motion, filed on February 16, 2017, included evidence that showed significant

escalation of the Ponzi-like scheme and other troubling facts. R. Doc. 20. For example, in the past

Scott Postle had siphoned off MHT funds for the personal purchase of substantial amounts of real

estate for his personal benefit.

       40.     Class Counsel urged that the MHT operation should be enjoined before further

havoc ensued, as plans were underway to ensnare more individuals. Class Counsel supplied

declarations from three physicians establishing that Ascentium made recent personal demands on

the Plaintiffs and threatened to report them to credit agencies. R. Doc. 20.




                                                11
                                                                                         App. No. 012
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 16 of 182 PageID 1326



       41.     In connection with their February 2017 motion, Class Counsel pushed for a hearing

at which they would seek to prove that MHT misrepresented to physicians that $40 million

committed from Ascentium was for operations. In reality this infusion was to finance additional

license sales, the proceeds of which MHT used to pay down older IPAs from previous license

sales. Class Counsel further asserted that Ascentium was granted ongoing access to the financial

information of MHT and substantial details about the Doctor LLCs, and that Ascentium demanded

a meeting in March of 2016 at which time it expressed considerable concern about the state of the

Program and Ascentium’s risk for millions of bad debts. Despite its expressed concerns,

Ascentium continued funding MHT for license purchases and hooking physicians to IPAs.

       42.     Attached to its motion, Class Counsel presented a Declaration from Connie

Ellwood, former executive assistant to Scott Postle, that Ascentium, at MHT’s request, funded a

significant number of loans for which there were no signed documents. Ellwood testified that MHT

instructed Ellwood to ignore and mislead any physicians who requested a copy of his or her

contract. Ellwood averred she was continually asked to lie to employees and physicians regarding

their contracts and was instructed by Postle to not send physicians copies of these contracts.

       43.     Class Counsel worked diligently to uncover additional evidence to provide to the

Court in an effort to prevent MHT from perpetuating the fraud and injuring other victims. Class

Counsel uncovered and offered as support for its motion evidence that MHT’s own officers and

employees had offered dour prognostications of MHT’s financial viability. For example, two

consultants who were hired to assist MHT in a “turn around,” Joseph West and Bradley Nurkin,

found insurmountable problems with the MHT Program shortly after their engagement. Notably

in a November 2016 memorandum (“West and Nurkin Memorandum”) entitled “Immediate

Concerns for Financial Operations of America’s MHT, Inc.” the authors observed, “We are very




                                                12
                                                                                         App. No. 013
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 17 of 182 PageID 1327



concerned that the singular revenue stream of physician-credited licenses has not exceeded or even

met expenses in any month during 2016.” West and Nurkin concluded:

       It is our position that America’s MHT, Inc. cannot meet its financial obligations
       and most likely will not survive. With this understanding, we believe it is necessary
       to immediately halt the process of selling franchise licenses to physicians that will
       have credit obligations to support America’s MHT, Inc. We cannot support this
       process with the clear understanding we now have of the company’s financial
       problems, nor can we let it continue.

       44.     Through diligent and intensive investigation and efforts, Class Counsel discovered

and presented evidence that despite the openness of the insolvency internally among MHT

executives and consultants, MHT continued to approach class members and others with a

reorganization plan, promising them equity and pleading with them to recruit other unsuspecting

victims. This included an email from Scott Postle in December of 2016 discussing the past failure

to fully indoctrinate participants in the “ultimate goal.” In that email, Postle stated:

       As long as our doctors are only thinking of MHT as a local success or failure, then
       they will be missing the steps to their ultimate retirement … . We need to have all
       of our participating doctors immediately start referring local colleagues to build
       their MHT Physician Network and join the IPA so we can represent MHT as a
       national solution for payors and post-acute providers and suppliers … . Our doctors
       must refer their colleagues significantly in January and we will overcome our
       current financial situation. I have a conference call with Balboa Capital to prepare
       them for an increase in funding …”

       45.     Evidence uncovered by Class counsel also included a December 29, 2016 email

from Dr. Nhue Ho to Postle entitled “Balboa Capitol.” In it, Ho states, “I would prefer that we take

care of Balboa money before Ascentium once we have some cash. The docs who are under Balboa

are our current referral source.” Postle responded to Ho’s December 29, 2016 email, stating:

“Absolutely. They want as much good press about MHT to pass along to their investor groups to

keep the funds flowing as we grow to 1200 doctors, 4800 Care Teams and 3 Billion in revenues.

They want to be our strategic financing partner to make it happen.” See R. Doc. 20.




                                                  13
                                                                                           App. No. 014
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                     Page 18 of 182 PageID 1328



        46.     Similarly, though their efforts, Class Counsel located and provided to the Court a

December 29th and 30th email conversation between Postle and Dr. Ho concerning the significant

payroll tax indebtedness facing the company in which Postle stated: “We have to set aside 10

doctor sales (@300K x 10) in January to bring our IRS and State withholding payments current to

allow us to file buy [sic] January 30th …. That’s why we need a lot of our doctors engaged in

referring their local networking doctors in early January …. We need to rev-up our physician sales

team ….” See Exhibit 5-D, R.Doc. 20. Dr. Ho, perhaps somewhat less the optimist, offered in

response: “I am not sure if we can reach that many licenses. That is 40 licenses for the IRS, another

10 to 12 licenses for payroll and another 10 to 12 for Ascentium and Balboa. That is 60 licenses. I

think if we can get 30, we will be fortunate. I just do not see doctors referring a lot of their friends.”

        47.     Not surprisingly Defendants, and in particular Ascentium, staunchly fought the

allegations presented and the relief requested by Class Counsel.

        48.     Ascentium responded to the motion for injunctive relief with citations of the

applicable contract documents such as: “In exchange for Ascentium funding the plaintiff-doctors’

new businesses, the Doctor LLCs agreed to make their monthly payments to Ascentium regardless

of any issue they may have with MHT:


        ‘Customer’s obligation to make the Payments to [Ascentium] … SHALL BE
        ABSOLUTE, UNCONDITIONAL, NON-PREPAYABLE, AND SHALL NOT
        BE SUBJECT TO ANY … REDUCTION OR DEFENSE FOR ANY REASON
        WHATSOEVER” (emphasis in original);

        ‘Customer agrees that it will not assert against [Ascentium] any claim that it may
        have against [MHT], regardless of whether or not: (i) the Software performs or does
        not perform … ; (ii) [MHT] … has breached any of its obligations … ; or (iii) the
        licenses granted pursuant to the Software Documents … are unsatisfactory for any
        reason;’

        ‘In the event of any default by [MHT] under the Software Documents, Customer’s
        sole remedy, if any, shall be against [MHT];’ and



                                                   14
                                                                                               App. No. 015
Case 3:17-cv-00155-M Document 100 Filed 03/11/18               Page 19 of 182 PageID 1329



       ‘CUSTOMER ACKNOWLEDGES THAT [ASCENTIUM] DID NOT SELECT,
       OR CREATE THE SOFTWARE … AND THAT [ASCENTIUM] IS NOT THE
       AGENT OF [MHT] NOR [MHT] AN AGENT OF [ASCENTIUM]” (emphasis in
       original).’” R.Doc. 27, p. 4.

       49.    Ascentium noted that in connection with funding the IPAs, various guarantor

physicians were called by Ascentium and affirmatively acknowledged the IPAs, their guarantees

of the IPAs, and that they knew that as a guarantor, he or she would be responsible for the loans

should the LLCs created by MHT not succeed in the business venture. Ascentium pointed out to

the Court that the Physician’s acknowledgements supplement the IPAs and are signed by the

guarantors. Ascentium also emphasized that Ascentium made no representations or warranties

regarding the MHT Program and that MHT’s performance or non-performance has no effect on a

Doctor LLC’s obligations under the IPA. Ascentium quoted the “Physician’s Acknowledgement,”

in which the physicians, on behalf of the Doctor LLCs, acknowledged:

       •      “[Ascentium] ha[s] no knowledge about the [financed] Assets and ma[d]e
              no warranties concerning them;”

       •      “[Customer has] chosen [MHT] and the Assets in [Customer’s] sole
              judgment;” “Once [Customer] direct[s] [Ascentium] to pay [MHT] and
              [Ascentium] ha[s] done so, [Customer is] unconditionally obligated to make
              all of the payments specified in the [IPA] even if … [MHT] does not honor
              any contract, agreement or warranty it might have with [Customer] or given
              to [Customer];” and

       •      “[Customer] must make all payments required by the [IPA] and perform
              [its] other duties under it whether or not the Software performs as
              represented by [MHT] and regardless of whether [Customer is] able to
              receive the services created or anticipated to be created by it.” R.Doc. 24,
              p. 5.

       50.    Ascentium also argued that it had performed verbal verifications with some of the

physician-owners. In these verbal verifications, Ascentium reportedly called the borrower to

“triple-check,” in Ascentium’s words, the guarantor’s understanding and agreement before

funding with colloquy such as:


                                               15
                                                                                       App. No. 016
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 20 of 182 PageID 1330



       •       The IPA is a “66 month, non-cancelable Agreement;”

       •       “[R]egardless of any success or failure under any program you may have
entered into with America’s MHT, that you and any personal guarantors are obligated to
Ascentium Capital for the total number of payments as outlined in the [IPA];” and

        •      “[Y]our obligation to Ascentium Capital is a direct, non-cancelable
obligation between yourself and Ascentium Capital, and … will not be discharged until the
terms of the monthly payments under the [IPA] are completely fulfilled.” R.Doc. 24, p. 5.

       51.     In sum, Ascentium argued that if a class member never spoke with Ascentium until

long after the IPAs were signed, then Ascentium did not mislead them into signing the IPA

guaranties. Further, Ascentium asserted:

       “Plaintiffs do not explain why it is ‘obvious’ that they—a group of highly-educated
       doctors—did not understand or consent to the terms of the IPA. ‘Absent fraud,
       misrepresentation, or deceit, a party is bound by the terms of the contract he signed,
       regardless of whether he read it or thought it had different terms.’ … Plaintiffs are highly
       educated doctors who voluntarily signed up for a business venture. It was up to them to
       decide whether MHT’s business model was viable and worth the price and risk.” R.Doc.
       24, p. 10.


       52.     Contending that there was little likelihood of success, Ascentium stated that

Plaintiffs’ claims “are particularly ill-suited for class treatment.” R.Doc. 24, p. 18.

       53.     Ascentium also aggressively attacked Plaintiffs’ claims in a Motion to Dismiss in

which it stated that:

       “Plaintiffs are attempting to avoid their valid payment obligations under fully enforceable
       contracts with Ascentium because the business ventures they chose to enter with an
       unrelated entity, America’s MHT, Inc. (“MHT”), did not perform as they hoped. But a
       purchaser’s dispute with an auto maker regarding alleged defects in a new car provides no
       grounds for withholding payments to the third-party lender that financed its purchase. And
       the same is true here. As Plaintiffs acknowledged in their contracts, Ascentium is an
       unrelated third party that merely provided financing for Plaintiffs’ purchases from MHT.
       It did not sell the products or services at issue, and it has no liability of any kind arising
       from the allegations in the Complaint. Accordingly, the Court should dismiss all claims
       asserted against the Ascentium Defendants in this action.” R.Doc. 30, p. 1.

       54.     In its motion to dismiss, Ascentium also urged:




                                                  16
                                                                                          App. No. 017
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                           Page 21 of 182 PageID 1331



         “[There] are no well-pleaded allegations that the Ascentium Defendants committed
        a false, misleading, or deceptive act under the DTPA or that any actions by the
        Ascentium Defendants were the producing cause of Plaintiffs’ damages. There are
        no well-pleaded allegations that Plaintiffs did not consent to their agreements with
        Ascentium or that the agreements lacked consideration; instead, the Complaint
        affirmatively establishes that there was consideration. Similarly, there are no well-
        pleaded allegations that the agreements with Ascentium were unconscionable.
        Rather, the contracts show clearly on their faces exactly what Plaintiffs owed. And
        they show just as clearly that Ascentium was not guaranteeing the quality of the
        products and services purchased from MHT.” R. Doc. 30.

        55.      Ascentium even sought to have the case dismissed based upon the Fifth Circuit’s

general seven factors (the Trejo factors) in deciding whether to dismiss a declaratory action.

        56.      Class Counsel vigorously disagreed with Ascentium’s arguments, both legally and

factually. Following Ascentium’s opposition, Class Counsel used the fruits of its continued factual

investigation to bolster its effort for injunctive relief and its opposition to Ascentium’s motion to

dismiss.

        57.      Class Counsel presented evidence to the Court that employees of MHT were asked

to forge—and did forge—physician signatures to documents, including IPAs.3 According to

former MHT employee, Paige Segovia: “I heard conversation during which … [Wertzberger, an

officer of MHT] requested that a member of MHT’s sales force (Bradley Leire) cease his practice

of signing financial documents for physicians without the authority to do so.”4

        58.      Many class members were presented only signature pages to sign—without the

other pages showing the terms of the agreement—by the aggressive MHT sales team who were

agents-in-fact for the Lenders, including MHT’s Bradley Leire.5




3
  See Declaration of Emily Jordan, ¶¶ 12-20. (R. Doc. 33-1).
4
  See Declaration of Paige Segovia at ¶ 28. (R. Doc. 33-1).
5
  Scott Hensley, a salesperson with MHT and agent-in-fact for Ascentium and later Univest and Balboa, has attested
that he “was concerned about Leire’s practice of show up at closing with only signature pages and encouraging me
to do the same.” See Declaration of Hensley, ¶ 13. (R. Doc. 33-1).


                                                       17
                                                                                                      App. No. 018
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                            Page 22 of 182 PageID 1332



           59.      Class Counsel informed the Court that Balboa continued to fund licenses even after

the filing of this litigation and that MHT’s Scheme was so prevalent and pervasive that MHT

provided payments to salespeople while at the same time MHT reportedly failed to withhold

employee tax payments, medical insurance, and other employee benefit payments, even though

these funds were supposedly withheld from MHT employee’s paychecks. 6

           60.      In opposition to the motion to dismiss, Class Counsel urged that Plaintiffs’ filing

of this lawsuit in the Northern District of Texas is entirely consistent with the purpose of the

Declaratory Judgment Act.

           61.      As to Defendant’s posit that “A purchaser’s dispute with automaker does not

provide grounds for withholding payments to the third-party lender,” Plaintiffs urged that they

seek redress for being victimized and relief from a personal guaranty that they were tricked into

by forgery and/or deceit, and the relief Plaintiffs seek is narrowly tailored to discrete injunctive

and declaratory relief. Class Counsel also referenced the bevy of declarations and factual support

for the fraud it asserted in opposition to the motion to dismiss. R.Doc. 35.

           62.      In its Order, the Court denied both motions, but left the Plaintiffs free to pursue the

case, provided that a Master Complaint properly stating causes of action would be filed, and in

which the facts substantiating fraud would be alleged with particularity. R. Doc. 39. Class Counsel

continued to work diligently and intensely to develop additional facts supportive of the Class’ case

and continued to maintain contact with counsel and unrepresented physicians from around the

country involved in the MHT program and related litigation.

           63.      Shortly thereafter, Class Counsel began to prepare the amended global complaint

ordered by the Court.



6
    See Declaration of Christopher Cervantes, p. 6, ¶ 28. (R. Doc. 33-1).


                                                           18
                                                                                                App. No. 019
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 23 of 182 PageID 1333



       64.     Class Counsel conducted additional, extensive document reviews and interviews

with the six Plaintiffs named in the four original complaints, to assure that all important and salient

facts were properly reviewed and presented and to recount the details of all meetings and

communications between the Plaintiffs and Defendants.

       65.     The end result was an extensive pleading—with some drafts reaching nearly two

hundred pages. A final draft of the Master Complaint was completed, and it was filed with this

Court on September 18, 2017. R. Doc. 57.

       66.     As this litigation was unfolding, and during the course of counsel’s investigation

and the Court’s consideration of Class Counsel’s Motion for Injunctive Relief, MHT’s collapse

ultimately culminated with its May 15, 2017 bankruptcy filing. In seeking Chapter 7 relief, MHT

initially listed its assets with a value of less than $1 million, despite having received in excess of

$50 million dollars over roughly three years for sales of bogus licenses.

       67.     On behalf of the Class, Class Counsel has contended with and addressed the impact

of the MHT bankruptcy in terms of the stay order entered into this case and has monitored the

proceedings in the bankruptcy court. R.Doc. 44.

       68.     On a separate front, beginning in April of 2017, counsel for Ascentium and Class

Counsel began to have substantive and professional settlement negotiations, but at times the

discussions were intense and contentious. The settlement negotiations were directed at settling the

claims asserted by class members against Ascentium and underlying claims that Ascentium

intended to pursue against class members in Subclasses One, Two, and Three.

       69.     Class Counsel and counsel for Ascentium began discussing models and approaches

to arrive at a resolution that would be fair, reasonable and adequate to the class as a whole, and




                                                  19
                                                                                            App. No. 020
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                Page 24 of 182 PageID 1334



which Class Counsel could recommend. Class Counsel and Ascentium continued to explore

approaches to reach a global settlement, which took into account likely subclasses.

       70.     During the several months of discussions and negotiations among Class Counsel

and Ascentium, counsel considered many variables and factors including the following: the

number of IPAs associated with a given physician, the booked outstanding indebtedness associated

with each Doctor LLC, the degree and extent of participation and Centers for Medicare & Medicaid

Services billing by the Doctor LLC, the time frame in which the IPA was executed in relation to

the degree of evidence establishing Lender awareness or reasonable awareness of the fraudulent

nature of the scheme, and what remedies and administrative process would be made available to

the Class Members beyond a release from claimed indebtedness in exchange for lesser settlement

payments.

       71.     Beyond the fairness of specific terms and commercial nature of various possible

settlement models, Class Counsel had numerous discussions and debates over how to best

approach class certification with an eye toward precedent and procedural options that would

achieve the best possible result; that could be negotiated with Ascentium; and that would be fair,

reasonable and adequate to the class.

       72.     These discussions extended through a mediation, which was conducted over the

course of a long business day on July 28, 2017. Though the discussions were productive, settlement

was not achieved, the parties and mediator stayed engaged and continued to work toward a

resolution. See R.Doc. 52.

       73.     Throughout these discussions Class Counsel consulted with and received input

from the several attorneys and unrepresented physicians with whom they had been in contact.

Class Counsel traveled to the location of cooperating attorneys to meet and discuss issues and




                                               20
                                                                                       App. No. 021
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 25 of 182 PageID 1335



status. In addition, Class Counsel retained an accountant as a consultant to assist in the evaluation

of possible models proposed, analyzed and considered during the course of settlement

negotiations.

       74.      Class counsel conducted extensive research and analysis to better understand the

impact and legal effect of the settlement being proposed on the reserved claims, the unreleased

claims, and the bankruptcy and potential claims class members might wish to assert. Specifically,

from their many discussions with interested guarantors and lawyers, it was clear that many

guarantors desired to retain their rights to pursue Postle, MHT, and other related persons.

       75.      In early August 2017, Class Counsel and counsel for Ascentium reached an

agreement in principle.

       76.      The agreement included confirmation from Ascentium that there would be no

efforts to collect against guarantors during pendency of litigation and no negative credit reporting

against putative class members or named Plaintiffs.

       77.      Because it was the way to best achieve a fair, reasonable and adequate settlement

for the class as a whole, Class Counsel and Ascentium had multiple discussions regarding the need

to include relief to class members who were alleged to have guarantee obligations to both

Ascentium and Univest. Univest was brought into the settlement discussions, and it ultimately

agreed to be included in the settlement. Univest’s participation was essential. Otherwise, it would

have been difficult to resolve the claims of the class as constituted.

       78.      Class Counsel also had extensive negotiations over the payment to Subclass Four

(involving Balboa IPAs) in exchange for the release of those class members’ claims against the

Settling Defendants. While members of Subclass Four never acknowledged the lack of a claim

against Settling Defendants regarding their alleged Balboa loan obligations, Ascentium and




                                                 21
                                                                                          App. No. 022
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 26 of 182 PageID 1336



Univest pointed to what they claim is a lack of evidence to support any theory of liability against

Settling Defendants by Subclass Four members.

       79.     The parties then spent six weeks negotiating and drafting a Settlement Agreement

and requisite legal terms that were satisfactory to Class Counsel, Ascentium, and Univest. The

negotiations over terms, conditions, and language in the settlement agreement and subsequent

pleadings and Order presented to the Court were involved, intensive, and time consuming.

       80.     Considerable attention was paid as to how to fairly, reasonably and adequately treat

varying class members and how to craft potential subclasses such that the overall settlement and

treatment of subclass members would be fair, reasonable and adequate overall.

       81.     The parties negotiated and ultimately determined that the primary distinction

between subclasses (in addition to Lender based categories) should be the time frame in which

each allegedly entered into IPA guarantees—i.e., pre-2016 or post-2016.

       82.     This distinction takes into consideration such factors as the degree of the MHT

fraudulent scheme and knowledge of the Defendants, the extent and duration of the class members’

participation in the MHT program, and the level of outstanding payments owed under IPAs—all

premised on the extensive evidence obtained and developed by Class Counsel.

       83.     The preeminent and controlling factors in the settlement negotiations was that any

negotiated payment obligations of the subclasses must be fair, reasonable, adequate fully

considered, and based on fact. Class counsel believe that the settlement terms—which were

arrived at only after lengthy negotiations—meet those essential criteria.

       84.     The payments in favor of Subclass Four members with Balboa IPAs were

determined by the amount of IPA guarantees each member had and were also the product of hard

fought negotiations.




                                                22
                                                                                        App. No. 023
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 27 of 182 PageID 1337



        85.     The Settling Defendants staunchly contested any role or participation in Balboa

IPAs and only agreed to provide any consideration to this subclass in exchange for global peace.

        86.     In the latter part of September 2017, only after Class Counsel, Ascentium, and

Univest had reached an agreement on the proposed settlement, Class Counsel and counsel for

Ascentium began negotiations for an attorney-fee award. Specifically, the issue of attorney’s fees

was not addressed or negotiated until after the parties reached consensus and agreement on the

terms of the settlement as it pertains to the Class.

        87.     Following agreement among the parties, Class Counsel drafted the motion to

preliminarily approve the settlement and related pleadings.

        88.     Upon the entry into the proposed Stipulation of Settlement, Class Counsel

continued to reach out to and consult with the various attorneys and class members impacted by

the proposed settlement. Class Counsel have participated in numerous conference calls with class

members and with interested counsel who are not Class Counsel or otherwise participants in the

class action.

        89.     Class Counsel continued discussions and analysis of various questions and

concerns by potential class members.

        90.     As the exclusion date, February 26, 2018, approached, these discussions,

consultations, researched analyses, and responses intensified.

        91.     Class Counsel’s efforts continue through the present, including the briefing,

preparation for and attendance and preparation at the fairness hearing on March 12, 2018.




                                                  23
                                                                                       App. No. 024
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 28 of 182 PageID 1338



       E.      Post-Settlement Activity

       92.     Subsequent to confecting the Stipulation and obtaining the Court’s preliminary

approval, Class Counsel has worked to answer questions of the class and address issues raised by

various class members.

       93.     Several class members questioned the tax implications of the proposed settlement.

Class Counsel has been very clear to each and every person raising tax issues or concerns that

Class Counsel are not tax lawyers, do not offer tax opinions, and will not offer tax opinions or tax

advice in this matter. However, in order to provide basic information to assist class members in

their analysis and further discussions with their own tax advisors, and ultimately whether accept

the proposed settlement, Class Counsel engaged CPA Al Courcelle, and asked Mr. Courcelle to

provide general background and opinions from a big picture standpoint See Courcelle opinion

attached as Exhibit DM-1. That opinion letter reflects that there should be no unusual adverse tax

consequence to the Class Members as a result of the settlement at issue, subject to each member’s

individual tax history and barring any unknown special circumstances.

       94.     Class Counsel has also obtained from Univest and Ascentium written confirmation

that neither intends to file 1099s with regard to any Class Member as a result of the settlement

payments. See Exhibits DM-2 and DM-3. Class Counsel has engaged in multiple discussions

with class members and counsel regarding concerns about tax issues. The overwhelming majority

of persons familiar with the facts and who have analyzed the issue have recommended or agreed

to the settlement.

       95.     Various potential Class Members have sought to have attorney’s fees which they

have expended be reimbursed through this litigation.




                                                24
                                                                                         App. No. 025
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 29 of 182 PageID 1339



        96.     As to attorney’s fees, Class Counsel has not charged a fee to any class member nor

received any compensation to date and is aware of no impediment to any Class Member’s

individual attorney making an application to this Court for an award of common benefit fees.

Similarly, no class member has been charged or billed for any litigation expenses incurred by Class

Counsel.

        97.     As set forth below in this Declaration, Class Counsel has reached agreements with

independent, non-Class counsel who have, in fact, dispensed legal services that have benefited the

class overall. Those two firms have charged their clients, who are also class members, fees relative

to their services, and those firms have sought reimbursement from their class member clients for

expenses they have incurred. It is those charged and incurred fees and costs that Class Counsel is

submitting to the Court for consideration as part of a fee and expense award.

        98.     Class Counsel has received and addressed complaints that the settlement payments

are too high and the Settlement is objectionable on that basis.

        99.     Class Counsel sought to obtain a settlement involving the least amount of payments

from Subclasses One, Two, and Three in exchange for a full release of all alleged guarantee

obligations. Class Counsel also sought to recover the most amount of payments to Subclass Four.

In that light, Class Counsel firmly believe that they obtained Settling Defendants’ best offer, and

it is their professional opinion and judgment that they have negotiated fair, reasonable, and

adequate settlements on behalf of the class. Class Counsel has made reasonable efforts to

communicate all of the facts relevant to the proposed settlement to all objectors and other members

of the class.




                                                25
                                                                                         App. No. 026
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 30 of 182 PageID 1340



III.   PROPOSED SETTLEMENT

       A. Terms of Settlement

       100.    The proposed settlement defines the “Settlement Class” as consisting of the “MHT

Program Class,” and “Subclass One” through “Subclass Four.” The “MHT Program Class” is

defined as every person who is currently listed in Ascentium’s, Univest’s, and/or MHT’s books

and records (including without limitation MHT’s bankruptcy schedules) as a Guarantor and/or as

an owner of a Doctor LLC. “Doctor LLCs” were entities created by MHT for physicians to

participate in the Program.

       101.    Subclass One is defined as every member of the MHT Program Class who (a) is

not a Guarantor of an Univest IPA but (b) is a Guarantor of an Ascentium IPA with (i) a “book

date” of January 1, 2016, or later stated in Ascentium’s books and records and (ii) a balance

outstanding on August 31, 2017. Subclass Two is defined as every member of the MHT Program

Class who (a) is a Guarantor of a Univest IPA and (b) is also a Guarantor of an Ascentium IPA

with (i) a “book date” of January 1, 2016, or later stated in Ascentium’s books and records and

(ii) a balance outstanding on August 31, 2017. Subclass Three is defined as every member of the

MHT Program Class who is a Guarantor of an Ascentium IPA with (i) a “book date” of December

31, 2015, or earlier stated in Ascentium’s books and records and (ii) a balance outstanding on

August 31, 2017. Subclass Four is defined as every member of the MHT Program Class who is a

Balboa Guarantor but not a Univest Guarantor or an Ascentium Guarantor.

       102.    The consideration to the settling class and subclasses includes the following: there

is class-wide injunctive relief by Ascentium’s and Univest’s agreement to (i) refrain from any

negative credit reporting against any Potential Class Member for alleged indebtedness up to Final

Judgment; (ii) retract any extant negative credit reporting for anything prior to Final Judgment;




                                                26
                                                                                        App. No. 027
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 31 of 182 PageID 1341



and (iii) refrain from any further collection efforts or negative credit reporting against any Potential

Class Member which is not based upon the settlement payments. There is a release from all claimed

obligations under the Ascentium and Univest IPAs.

       103.    The Settlement Consideration due from each member of Subclass One and each

member of Subclass Two shall be the lesser of (i) $85,900.50 (75% of the total of all monthly

payments due under one Ascentium IPA covering the purchase of one MHT license in 2016) and

(ii) 80% of the total of all payments remaining due under the original terms of all Ascentium and

Univest IPAs for which such subclass member is listed as a Guarantor. This is to be paid in sixty

(60) monthly installments. Although contested by Plaintiffs, many of the members in this case are

on the books as guaranteeing up to four IPAs.

       104.    The Settlement Consideration due from each member of Subclass Three shall be

the lesser of (i) $114,534.00 (100% of the total of all monthly payments due under one Ascentium

IPA covering the purchase of one MHT license in 2016) and (ii) 80% of the total of all payments

remaining due under the original terms of all Ascentium and Univest IPAs for which such subclass

member is listed as a Guarantor. This is to be paid in forty-eight (48) monthly installments.

       105.    The benefits to these subclasses are substantial as nearly every class member is

claimed to have at least two IPAs with outstanding amounts and the majority of class members

allegedly obliged as guarantors of four IPAs. Altogether the scale of released contested claims

under IPAs is $52,000,000 in exchange for settlement payments of approximately $15,000,000—

a difference of approximately $37,000,000. Moreover, all subclasses have the additional

consideration in the form of an early payment option which would result in a 20% discount of the

applicable termed settlement amount. None of the IPAs provided for this benefit, and it was

achieved solely due to Class Counsel’s persistence, efforts, and ultimately successful negotiations.




                                                  27
                                                                                            App. No. 028
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 32 of 182 PageID 1342



        106.    The doctors alleged to guarantee Balboa IPAs are not receiving releases of

contested claims in the same manner by virtue of this settlement. Neither Ascentium nor Univest

have the authority to bind Balboa to reducing the alleged Balboa guarantees. However, the Settling

Defendants agree to total payments of up to $390,000, to these doctors who comprise Subclass

Four.

        107.    In exchange for this consideration, the class members agree to release all claims

against the Settling Defendants, although it is believed that none of these doctors had IPAs with

Ascentium or Univest.

        B. Class Counsel’s Fee

        108.    The above-described arms-length negotiations and bargaining, combined with the

risks presented in any litigation, show the precarious nature of achieving settlement. Despite

substantial effort and expenditure of thousands of hours of time and resources, there is and always

has been substantial risk whether Class Counsel would receive any fee for their services and value

provided to the putative class.

        109.    The course of this litigation demonstrates the fact that the mere filing of an action

does not ensure that there will be any settlement or fee.

        110.    In fact, there were times during the litigation when it was possible that Plaintiffs’

claims could have dismissed with prejudice.

        111.    Thus, there was a demonstrable risk that the Class and its counsel would invest

substantial efforts and receive nothing. It took hard and diligent work by skilled counsel to develop

facts and theories that allowed the case to go forward and ultimately persuade defendants to enter

into serious settlement negotiations. If defendants believe they will prevail, experience shows that

they will litigate to the end.




                                                 28
                                                                                          App. No. 029
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 33 of 182 PageID 1343



       112.    Losses such as those described above are exceedingly expensive and can often

threaten the survival of a law firm. Onlookers often focus on the aggregate fees awarded but fail

to take into consideration that those fees are used to cover enormous overhead expenses incurred

during the course of the litigation, are taxed by federal, state, and local authorities, and, when

reduced to a bottom line, are far less imposing to each individual firm involved than the aggregate

fee awarded appears.

       113.    When Class Counsel undertook to act for the Plaintiffs in this matter, counsel were

aware that the only way counsel would be compensated was to achieve a successful result. The

benefits conferred on Plaintiffs and the Class by this settlement are particularly noteworthy, to wit:

a release of claims in excess of $52 million was obtained for the Class in exchange for payments

of $15 million despite the existence of substantial risks and Defendants’ vigorous assertion of

defenses. The value of the proposed class settlement to members of Subclass Four is up to

$390,000 in cash payments to class members, and other non-monetary benefits were conferred

upon Subclasses One, Two, and Three. The non-monetary benefits include the assurance that no

class member would be subject to negative credit reporting for actions and inactions prior to final

settlement of the class, assurances that during the pendency of the class settlement, no class

member would be subjected to collection efforts by Settling Defendants, an early payment option,

the spreading out of payment on the amount of monies class members will pay to Ascentium and/

or Univest, the reservation of class members claims against non-settling parties, and other relief.

       114.    Class Counsel accepted this case on a wholly contingent basis. Counsel knew from

the outset that they might expend millions of dollars in attorney time in pursuing this litigation on

behalf of the Class and receive no compensation if the litigation ultimately proved unsuccessful.




                                                 29
                                                                                           App. No. 030
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 34 of 182 PageID 1344



Class Counsel gave it their all—with no assurance of success. All of Class Counsels’ effort and

time was expended without any certainty of payment.

           C. Standing and Expertise of Class Counsel

           115.    The expertise and experience of Class Counsel are described in the declarations of

Class Counsels’ law firms to be presented at the Fairness Hearing and in the previous submissions

to this Court.7 In short, Class Counsel consists of three law firms with senior lawyers assuming

key roles in this case. Each firm has deployed capital and professional resources of great value,

and the lawyers from each firm dedicated significant time and energies to this fast track case. The

efforts of Class Counsel, and deployment of valuable resources by each Class Counsel firm are the

principal reason that this case was brought to a rapid proposed settlement that is highly favorable

to the class.

           116.    Bringing this case to an expedited conclusion was in the overwhelming best interest

of class members. The level of anxiety and angst among class members regarding the uncertainty

of what they may owe Ascentium and/ or Univest, if anything, and when they would be called to

pay, was consistently present in this matter. Ascentium and Univest were represented by

competent and aggressive counsel who strongly preferred to engage individual suits against class

members, in venues inconvenient to class members, and engage in negative and damaging credit

reporting against putative class members in the interim of filing such suits. The overmatch of

resources of Ascentium and/ or Univest versus individual class members was to the disadvantage

of class members. Moreover, the legal costs that would likely be incurred while litigating

individual matters would probably approach the actual settlement amounts proposed in this

agreement. Moreover, the likelihood that class members would not recover their out of pocket



7
    See R. Doc. 59-2.


                                                   30
                                                                                           App. No. 031
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                      Page 35 of 182 PageID 1345



legal costs and expenses if the cases were handled individually was a real and substantial

risk. And worse, there was an ever-present risk that under certain language in the IPAs, class

members would be called upon to pay Settling Defendants’ legal expenses and costs, which likely

would be quite substantial.

       117.    The proposed settlement presents certainty for class members regarding what they

will owe, and when, and in the case of Subclass Four, provides a cash payment from entities who

allege a tenuous, at best, connection with any of the Balboa IPAs.

       118.    Bringing the matter to an early conclusion, rather than expending significant time,

valuable Court time and resources, as well as the energy and expense of both litigants and counsel

provides a significant benefit to the class, litigants, Court, and legal system as a whole. In this

case, “sooner” is in fact better and highly favorable to the class.

       119.    The issues posed in this case are both novel and complex. Unlike many fraud-based

class action and mass joinder cases, this case involves the rescission of alleged indebtedness based

on fraudulently procured guarantees. The lenders inevitably rely on clauses in their respective

agreements, known as “Hell or High Water” clauses, which in ordinary circumstances would

insulate lenders from acts and omissions perpetrated by third persons. The factual investigation,

assessment of the salient facts vis-à-vis applicable law, and the proper framing of legal theories

and arguments to bind the lenders, as persons with knowledge, scienter and participation in the

MHT Scheme was both time consuming and extremely involved. Moreover, efforts to assess all

known facts and create a settlement with appropriate subclasses that would meet the requisites of

class certification and would be fair, reasonable and adequate under the circumstances required

thought, research, and skillful drafting. It required working with consultants engaged by Class

Counsel as well as significant work and effort by Class Counsel. Through intense and dedicated




                                                 31
                                                                                         App. No. 032
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 36 of 182 PageID 1346



effort, Class Counsel facilitated the proposed settlement, which we believe meets all requisites of

class certification and is highly favorable to the class and all subclasses.

       120.    Gaining a complete and thorough understanding of the facts, law and legal

arguments of Settling Defendants was essential in order to properly craft proposed class action

lawsuits in which multiple actual common issues of fact and law were presented by suitable class

representatives with claims typical of unnamed class members. Skill, effort, and tenacity by Class

Counsel were essential for the presentation of what is presented as a simple request for relief that

applies class wide, where using class procedure is not only permissible but indeed preferable and

far superior than individualized resolution of claims, likely in multiple jurisdictions across the

country.

       121.    The time limitations in this matter have been driven by several colliding

factors: the anxiety and angst among class members to get resolution of what, if anything, they

owe to Settling Defendants and certainty of when and what must be paid; the strong desire of

Settling Defendants to collect any monies that may be due to them on an expedited basis, bearing

in mind that the present value of whatever they might collect would be less if there were protracted

delays; the possibility of substantial legal expenses incurred by the Settling Defendants; the

possibility of class members being held responsible for Settling Defendants’ legal fees pursuant to

certain provisions of the IPAs; the fact that engaging in extensive litigation would both increase

and reduce risk to litigants. Thus, it was optimal to negotiate sooner than later in the proceedings.

       122.    Multiple alleged-guarantor class members around the country retained private

counsel, who have filed individual lawsuits, or sought to defend lawsuits brought by some of the

Settling Defendants. Even so, no other lawyers or firms other than Class Counsel have crafted

arguments and presented them in proceedings that would or could bring global relief to class




                                                  32
                                                                                          App. No. 033
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                  Page 37 of 182 PageID 1347



members who wish to participate.       There was a belief among others that using class action

procedure would stall and impede the progress of the cases, rather than further resolution, and that

certifying a class would be difficult. Many were intimidated by class action procedure and found

the handling of a class action a daunting and overwhelming commitment. Many doubted that class

action practice would result in expedited settlement negotiations, and some doubted that a

proposed settlement that would be highly favorable to the class would or could be negotiated and

proposed to the Court in a relatively short span of time. Of course, the overwhelming majority of

interested persons preferred a fair, reasonable and adequate settlement on a fast track basis. Class

Counsel have been the only lawyers willing to assume the risks and commitment necessary to

accomplish the proposed settlement.

IV.     COUNSEL’S REQUEST FOR REIMBURSEMENT OF EXPENSES IS
        REASONABLE AND SHOULD BE APPROVED.

        123.   Each Class Counsel firm will submit declarations at the Fairness Hearing setting

forth the amount of the expenses incurred and personnel time expended over the course of the

litigation.

        124.   As Class Counsel, I am familiar with the expenses incurred by Class Counsel. These

expenses were reasonably and necessarily incurred, are reasonable in amount and, therefore,

should be reimbursed.

        125.   The named class representatives in this case have been and remain willing to

participate in discovery and were instrumental in initiating and advancing the present case and

warrant an Incentive Award as prayed for due to their services.

        126.   Specifically, Dr. Derek Melby (Subclass One), Dr. Danilo Policarpio (Subclass

Two), Dr. David Guillot (Subclass Three), and Dr. Jaideep Patel (Subclass Four) have reviewed

multiple drafts of the Complaints (and in Dr. Guillot’s case, the Complaint of Intervention). Each



                                                33
                                                                                         App. No. 034
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 38 of 182 PageID 1348



has spent multiple hours of their time reviewing the detailed facts and circumstances of their

involvement with MHT and the lender(s) involved in their guarantee transactions. Each is

scheduled to travel from the homes, all outside of Texas, to prepare for and attend the Fairness

Hearing on March 12, 2018 and give live testimony or written declaration in lieu of live testimony.

Each has given additional time and effort not required of or provided by other class members, and

their efforts have benefited the class.

        127.     Reasonable enhancements, in line with the jurisprudence, are appropriate and are

respectfully requested.

        128.     For the avoidance of any doubt, Class Counsel is requesting that the enhancements

sought for class representative Melby, Policarpio, Guillot, and Patel come from the fee and cost

funds agreed to by Settling Defendants.

        129.     Additionally, Class Counsel has agreed to not oppose and to include in its

submission the fee reimbursement from two law firms which provided common benefit services

in this litigation.

        130.     Attorney Isaac Tawil has represented five physician Class Members in the

McAllen, Texas area. Each of Mr. Tawil’s clients has agreed to the settlement. Mr. Tawil met with

me early in the case, and Mr. Tawil has remained in communication with me since then. Mr. Tawil

filed lawsuits in the 398th Judicial Court for the State of Texas, County of Hidalgo. I have

communicated and collaborated with Mr. Tawil since our initial meeting, and as the matter

developed, particularly as to settlement, I collaborated with Mr. Tawil as to his thoughts and

recommendations.

        131.     Mr. Tawil’s clients have been billed $25,608.33 in fees for his services and have

incurred $11,375.25 in expenses. Mr. Tawil’s contributions added value to the class and proved to




                                                34
                                                                                        App. No. 035
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 39 of 182 PageID 1349



be for the common benefit for the class. Mr. Tawil’s fee and costs submission is in line with the

value of the benefit his efforts and collaboration brought to the class overall.

       132.       Class Counsel requests that these amounts be included in the award of attorney’s

fees and reimbursement of expenses by this Court.

       133.       Attorney Kirk Morgan, with the firm of Smith Haughey Rice & Roegge represents

nine class members each located State of Michigan. Each of Mr. Morgan’s clients has agreed to

the settlement.

       134.       Prior to my interactions with Mr. Morgan, he has extensively researched the matters

central to the MHT scheme, primarily under Michigan law. In addition, Mr. Morgan, in connection

several of his clients, had begun investigating the facts central to the MHT program. During our

initial discussion, and ever since, Mr. Morgan has been forthcoming and collaborative regarding

facts and details of his investigatory efforts. In addition, Mr. Morgan located and retained a

bankruptcy lawyer in the Dallas area to represent his clients and others in the MHT Bankruptcy

proceeding. Mr. Morgan freely shared information regarding that proceeding, including transcripts

and other matters. I have spoken with Mr. Morgan multiple times, and he has invited me to engage

with his clients to discuss settlement.

       135.       Mr. Morgan made significant contributions in communicating negotiations with

class members, coordinating the national efforts of lawyers representing physicians in MHT

bankruptcy litigation, and in raising and developing defenses against the IPA guarantees.

       136.       Throughout my multiple interactions with Mr. Morgan, he has brought value to the

class, and his efforts have been to the common benefit of the class. Mr. Morgan’s fee and cost

submission is in line with the value of the benefit his efforts and collaboration brought to the class

overall.




                                                  35
                                                                                           App. No. 036
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                         Page 40 of 182 PageID 1350


           137. Mr. Morgan's clients have been billed $119,269.50 in fees for his firm's services

 and have incurred $5,075.38 in expenses.

           138. Redacted records of these fees and expenses are attached hereto as Exhibit DM-4

 and the Class Counsel requests that these amounts be included in the award of attorney's fees and

 reimbursement of expenses by this Court.

V.         CONCLUSION


        139. For the reasons set forth in this Declaration and in the Memoranda In Support Of

Motion For Final Approval Of Partial Class.Action Settlement And For An Award Of Attorney's

Fees, 1 respectfully submit that (i) the settlement is fair, reasonable and adequate and should be

approved; and (ii) the application for attorney's fees and reimbursement of expenses should be

granted.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, executed on March 5, 2018, at New Orleans, Louisiana.




                                                                                                 I Z

                                   C E R T I F I C AT E O F S E R V I C E


        I hereby certify that on March 5, 2018, a true and correct copy of the foregoing declaration

was served on all counsel of record through the Court's electronic filing system.


                                                                    / s / J o n a t h a n P. L e m a n n
                                                                    Jonathan P. Lemann




                                                    36
                                                                                                           App. No. 037
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 41 of 182 PageID 1351




                           Exhibit DM-1




                                                                    App. No. 038
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                         Page 42 of 182 PageID 1352




   January 26, 2018

   Couhig Partners, LLC
   Attention: Jeff Pastorek, Rob Couhig, Don Massey, and Jonathan Lemann
   1100 Poydras St.
   Suite 3250
   New Orleans, LA 70163
   Via: Email

           Re: MHT Settlement Opinion

   Dear Gentlemen:

   I was asked to give an opinion on the tax implications of the proposed settlement between your client(s)
   and the lenders, Ascentium and Univest. From my understanding, America's MHT set up LLCs to
   administrate and manage the operations of nurse practitioner practices. Although the doctors were the sole
   members of LLCs associated with each doctor, America’s MHT retained the control, oversight and
   management of these LLCs. The doctors executed Installment Purchase Agreements (IPAs) with the
   lenders based on multiple false representations of MHT representatives and others, with the LLCs
   allegedly associated with the doctors being the obligors and the doctors being the guarantors. As soon as a
   doctor executed an IPA, America's MHT sought and received wire transfers for each IPA directly to
   America's MHT, unbeknownst to the doctors. The LLCs defaulted on loan payments to the lenders. As a
   result, the lenders sought payment from the doctor guarantors when these loans defaulted. The doctor
   guarantors vigorously contested that they owed anything to lenders under the guarantees or any other
   theory. The lenders reached a proposed settlement with the doctor guarantors under which the lenders
   have agreed to discharge or otherwise forgive a significant portion of the guarantee obligations for each
   doctor guarantor, and not to issue form 1099-C as a result of the fraudulent nature these loans were
   originated. The questions presented to us are as follows:

           A. Do the doctors have a tax consequence for the forgiveness or discharge of large amounts of
              alleged guaranties?
           B. Are the doctors able to expense the payment of a guaranty in the tax period(s) in which they
              make the payments?


   The following represent the tax treatment of the above transaction, as well as the recovery or reduction of
   debt:

           A. Doctors should not have a tax consequence as a result of the forgiveness or discharge of the
              alleged Ascentium and/or Univest guarantees. The amount of debt forgiven should not be
              considered income for the tax period that the discharge occurs, however, because of the
              settlement that allows for the reduction of the debt owed to the lenders, we advise that the
              taxpayer should only be able to claim the net loss guaranteed. Per Section 165 of the IRS Tax
              Code, a taxpayer shall be allowed as a deduction any loss sustained during the taxable year.
              This includes theft losses, which are deductible in the year discovered and not compensated
              for by insurance or otherwise. Assuming that the doctors have not taken deductions for any




                                                                                                   App. No. 039
          5609 Crawford Street, Suite A, Harahan, LA 70123 ~ Tel: (504) 465-8750 ~ Fax: (504) 465-8761
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                         Page 43 of 182 PageID 1353




                theft losses related to this fraudulent transaction, each would be entitled to a theft loss
                deduction of the net loan amount guaranteed in the year that the fraud was discovered. It is
                suggested that each doctor consult his tax advisor for the potential deduction amount to be
                claimed.

                Should a doctor have previously claimed a tax deduction for the theft loss as a result of the
                loans or guarantees, we recommend he discuss the tax treatment with his tax advisor.

           B. Under Section 163 of the IRS Tax Code, interest paid or accrued within the taxable year on
              indebtedness shall be allowed as a deduction. If the actual interest charge cannot be
              ascertained, a portion of the payments made during the taxable year under the contract shall
              be treated as interest and is deductible under section 163(b). This is relevant to the note
              payments in which the doctors are ultimately deemed responsible for, however, as mentioned
              above, the net loss is fully deductible in the year it was discovered. Please note that the recent
              Tax Act that was signed into law by President Trump limits of the deduction for interest
              expense, which may affect the doctors, beginning 1/1/18. It is suggested that each doctor
              consult his tax advisor regarding the effect of this Act on the deductibility of interest expense
              paid on these guarantees.


   As you know, each individual tax situation is unique, and we advise that your client(s) contact their tax
   advisors regarding the deductibility of the theft losses, as well as any losses that may have been claimed in
   a prior tax year. Returns claiming theft loss deductions may be subject to examination by the Internal
   Revenue Service.

   Should you have any questions, please do not hesitate to contact me at the number listed or email at
   awc@ac-consultant.com.


   Sincerely,


   Albert W. Courcelle III, CPA




   2                                                                                                App. No. 040
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 44 of 182 PageID 1354




                           Exhibit DM-2




                                                                    App. No. 041
  Case 3:17-cv-00155-M Document 100 Filed 03/11/18                              Page 45 of 182 PageID 1355

Vinson&Elkins

   Matthew R. Stammel mstammel@velaw.com
   Tel +1.214.220.7776 Fax+1.214.999.7776

  February 6, 2018

  By E-Mail to:
  Donald C. Massey (dmassey@couhigpartners.com)
  Couhig Partners LLC
  llOOPoydrasSt, Ste. 3250
  New Orleans, Louisiana 70163

           Re:       Melby, et al. v. America's MHT, et al., Civil Action No. 3:17-cv-155-L

  Don:

         You have asked whether Ascentium Capital LLC ("Ascentium") intends to issue
  Forms 1099 to the doctors who participate in the settlement pursuant to the Stipulation of
  Settlement executed on September 26, 2017, as noticed to potential class members by letter in
  December 2017 from the Administrator for the U.S. District Court, Northern District of Texas,
  Dallas Division.

          Pursuant to Treasury Regulation § 1.6050P-1(d)(7), Ascentium does not intend to issue
  Forms 1099 (including Forms 1099-c) to the doctors who participate in the class action settlement
  reflected in the Stipulation of Settlement.

         As you know, we do not represent Univest and cannot speak on its behalf. We believe that
  Univest will be taking this same position but this needs to be confirmed by counsel for Univest.

                                                             Sincerely,



                                                             Matthew R. Stammel


  US 5465787




   Vinson & Elkins LLP Attorneys at Law                                   Trammell Crow Center, 2001 Ross Avenue, Suite 3700
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                                                                                                                 App. No. 042
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 46 of 182 PageID 1356




                           Exhibit DM-3




                                                                    App. No. 043
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 47 of 182 PageID 1357




                                                                    App. No. 044
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 48 of 182 PageID 1358




                           Exhibit DM-4




                                                                    App. No. 045
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 49 of 182 PageID 1359




                                                                                App. No. 046
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 50 of 182 PageID 1360




                                                                                App. No. 047
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 51 of 182 PageID 1361




                                                                                App. No. 048
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 52 of 182 PageID 1362




                                                                                App. No. 049
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 53 of 182 PageID 1363




                                                                                App. No. 050
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 54 of 182 PageID 1364




                                                                                App. No. 051
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 55 of 182 PageID 1365




                                                                                App. No. 052
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 56 of 182 PageID 1366




                                                                                App. No. 053
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 57 of 182 PageID 1367




                                                                                App. No. 054
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 58 of 182 PageID 1368




                                                                                App. No. 055
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 59 of 182 PageID 1369




                                                                                App. No. 056
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 60 of 182 PageID 1370




                                                                                App. No. 057
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 61 of 182 PageID 1371




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Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 62 of 182 PageID 1372




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Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 63 of 182 PageID 1373




                                                                                App. No. 060
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 64 of 182 PageID 1374




                                                                                App. No. 061
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 65 of 182 PageID 1375




                                                                                App. No. 062
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 66 of 182 PageID 1376




                                                                                App. No. 063
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 67 of 182 PageID 1377




                                                                                App. No. 064
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 68 of 182 PageID 1378




                                                                                App. No. 065
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 69 of 182 PageID 1379




                               Exhibit 2




                                                                    App. No. 066
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 70 of 182 PageID 1380


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 DR. DEREK MELBY, and DANILO §
 POLICARPIO as individuals and on §
 behalf of all others similarly situated §
                                         §
        Plaintiffs,                      §                Civil Action No. 3:17-CV-155-M
                                         §
 v.                                      §                consolidated with
                                         §                Civil Action Nos. 3:17-CV-732-M;
 AMERICA’S MHT, INC., SCOTT §                             3:17-CV-868-M; and 3:17-CV-963-M
 POSTLE, ASCENTIUM CAPITAL, LLC, §
 and CLIFF MCKENZIE                      §
                                         §
        Defendants.                      §



DECLARATION OF ROBERT E. COUHIG JR. IN SUPPORT OF APPLICATION FOR
   AWARD OF ATTORNEYS' FEES AND REIMBURSEMENT OF EXPENSES



        I, Robert E. Couhig Jr., declare as follows:

        1.      I am a member of the firm of Couhig Partners, LLC. I am submitting this

declaration in support of my firm’s application for an award of attorney’s fees in connection with

services rendered in the above-entitled action and the reimbursement of expenses incurred by my

firm in the course of this litigation.

        2.      This firm is counsel of record for plaintiffs and class representatives, Dr. Derek

Melby, Dr. Danilo Policarpio, Dr. David Guillot, and Dr. Jaideep Patel.

        3.      The identification and background of my firm, its partners, associates, and support

staff, who devoted substantial time to this matter, was filed with the Motion for Preliminary

approval and recorded as Rec. Doc. 59-2.

        4.      Through March 8, 2018, the total number of hours spent on this litigation by




                                                                                        App. No. 067
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                     Page 71 of 182 PageID 1381



my firm is 2,840.10 hours. The total lodestar amount for attorney/paralegal time is

$1,812,728.50. A breakdown of the lodestar is as follows:

                                                   HOURS

                                  Inception through March 8, 2018

         ATTORNEY*                  *          HOURS       RATE                   LODESTAR
     Rob Couhig, Jr.               P             142.5     $775.00                $110,437.50

     Jeremy Fischbach              A              17.5     $390.00                 $6,825.00

     Cory Grant                    A              33.2     $390.00                 $12,948.00

     Jonathan Lemann               P             751.0     $550.00                $413,050.00

     Don Massey                    P            1460.4     $725.00               $1,058,790.00

     Jeff Pastorek                  P            432.1     $425.00                $183,642.50

     Tate Martin                   PL             3.4      $75.00                   $255.00
     TOTAL:                                    2,840.10                          $1,812,728.50

      *(P) = Partner
       (A) = Associate
       (PL) = Paralegal

        5.      Our firm performed subtantial work for the benefit of the Class, including investigation

of facts supporting allegations in the Complaint, responding to class member inquiries, and preparation

and filing of the Complaint and Amended Complaint and other pleadings and motions, and the

negotiation of the Partial Class Settlement.

        6.      My firm incurred a total of $26,780.50 in unreimbursed expenses in connection with

the prosecution of this litigation. These expenses are broken down as follows:




                                                                                             App. No. 068
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                          Page 72 of 182 PageID 1382


                                                   EXPENSES


                                    From Inception through March 10, 2018

  Consultants                                                                       $14,338.75
  Filing Fees and Miscellaneous Costs                                                   $136.33
 Tr a v e l                                                                         $12,305.42




              7. The expenses incurred pertaining to this case are reflected in the books and records of

this firm. These books and records are prepared from expense vouchers and check records and are an

accurate record of the expenses incurred. See redacted billing records attached as Exhibit A hereto.

              8. Given that there was tremendous pressure to mitigate damage and end the perpetuation

ofthe fraudulent scheme at issue, my team prioritized this litigation and devoted considerable time and

effort particularly in the early part of 2017.

              9. The prioritization of this case certainly impacted the firm's normal course of business.

              10. While the firm did not neglect other matters in which it was engaged, it was forced to

curtail business development opportunities which precluded other employment.


              I declare under penalty of perjury that the foregoing is true and correct. Executed this 9th day

of March, 2018 at 1100 Poydras Street, Suite 3250, New Orleans, Louisiana 70163.




                                                                                                  App. No. 069
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 73 of 182 PageID 1383


Date: March 9, 2018                                  Respectfully submitted,

                                                             /s/ Jonathan P. Lemann
                                                             E. Leon Carter
                                                             Texas Bar No. 03914300
                                                             lcarter@carterscholer.com
                                                              Joshua J. Bennett
                                                             Texas Bar No. 24059444
                                                             jbennett@carterscholer.com


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                                                              Facsimile: (214) 550-8185

                                                             Paul Crouch
                                                             The Crouch Firm, PLL
                                                             Bar #05144700
                                                             5609 Masters Ct.
                                                             Flower Mound, TX 75022
                                                             Telephone: (817) 714-9820
                                                             Facsimile: (855) 886-6374

                                                             Couhig Partners, LLC
                                                             Robert E. Couhig, Jr.,
                                                             Texas Bar No. 04877400
                                                             Louisiana Bar Roll No 4439
                                                             Donald C. Massey,
                                                             Louisiana Bar Roll No. 14177
                                                             Jonathan P. Lemann,
                                                             Texas Bar No. 24054333
                                                             Louisiana Bar Roll No. 26380
                                                             Jeffrey T. Pastorek,
                                                             Louisiana Bar Roll No. 33309
                                                             1100 Poydras Street, Suite 1150
                                                             New Orleans, LA 70163
                                                             Telephone: (504) 588-128
                                                             Telecopier: (504) 588-9750

                                                             ATTORNEYS FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE
       I hereby certify that on March 9, 2018, a true and correct copy of the declaration was served

on all counsel of record through the Court’s electronic filing system.

                                                                     /s/ Jonathan P. Lemann
                                                                     Jonathan P. Lemann



                                                                                         App. No. 070
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 74 of 182 PageID 1384




                           Exhibit RC-A




                                                                     App. No. 071
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                       Page 75 of 182 PageID 1385


                                                                                                            Invoice # 2343
                                                                                                          Date: 03/09/2018
                                                                                                        Due On: 04/08/2018



3250 Energy Centre, 1100 Poydras Street
New Orleans, Louisiana 70163
United States


Dr. Derek Melby



1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium
Capital LLC, Univest Capital LLC, etc.

 Services

    Date      Attorney   Description                                                      Quantity    Rate           Total

 12/15/2016       RC      Discussions with potential clients; review file materials.        1.00     $775.00      $775.00

 12/17/2016       RC      Discussions with potential clients; review file materials.        1.50     $775.00     $1,162.50

 12/18/2016       RC      Discussions with potential clients; review file materials.        1.00     $775.00      $775.00

 12/19/2016       DM      Review materials re MHT from various physicians; confer           4.10     $725.00     $2,972.50
                          REC; confer CP lawyers; review file materials forwarded;
                          assess possible claims; attempt to understand scheme; review
                          multiple correspondence/ email exchanges; commence
                          review of extensive materials; assess; confer and coordinate
                          review and analysis of potential claims; participate in call
                          with potential class members.

 12/19/2016       RC      Confer CP lawyers; review file materials forwarded.               4.10     $775.00    $3,177.50

 12/20/2016       DM      Continue to review and digest substantial materials; map out      3.50     $725.00    $2,537.50
                          flow of documents with MHT and physicians; attempt to
                          understand financing aspects

 12/21/2016       DM      Conference call with impacted MHT physicians; prepare for         7.10     $725.00    $5,147.50
                          same; review correspondence/ email from MHT; assess
                          possible securities issues; Continue review of multiple
                          materials; assess and confer.

 12/22/2016       DM      Review multiple correspondence/ email among doctors, CP           3.10     $725.00    $2,247.50
                          and others; confer; review materials re potential claims;
                          assess and analysis of multiple potential class member
                          materials; conferences; assess claims.

 12/22/2016       RC      Meeting regarding potential causes of action with Couhig          0.50     $775.00      $387.50
                          Partners team




                                                         Page 1 of 83
                                                                                                               App. No. 072
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 76 of 182 PageID 1386




                                                                    App. No. 073
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 77 of 182 PageID 1387




                                                                    App. No. 074
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 78 of 182 PageID 1388




                                                                    App. No. 075
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 79 of 182 PageID 1389




                                                                    App. No. 076
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 80 of 182 PageID 1390




                                                                    App. No. 077
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 81 of 182 PageID 1391




                                                                    App. No. 078
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 82 of 182 PageID 1392




                                                                    App. No. 079
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 83 of 182 PageID 1393




                                                                    App. No. 080
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 84 of 182 PageID 1394




                                                                    App. No. 081
Case 3:17-cv-00155-M        Document 100 Filed 03/11/18 Page 85 of 182 PageID 1395
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         Dr. Green; draft responsive correspondence/ email; review
                         correspondence/ email from Leon Carter re extension to
                         Ascentium and McKenzie; draft memorandum; review
                         correspondence/ email exchanges.

 02/03/2017      JL      Work on TRO motion.                                             2.80   $550.00     $1,540.00

 02/03/2017      RC      Discussions with Massey re drafts.                              1.00   $775.00      $775.00

 02/04/2017     DM       Review materials re                             ; multiple      4.10   $725.00     $2,972.50
                         conferences CP; correspondence/ email exchanges re
                                  ; confer               ; review correspondence/
                         email exchanges; assess status; call from               ;
                         assess and research rules re contact; confer CP; review
                         materials re Hildago suit; review ACO issues; review internet
                         presence re ACO; assess injunction proof; review
                         correspondence/ email from Dr. Policarpo; draft responsive
                         correspondence/ email; review correspondence/ email from
                         Derek Melby; draft responsive correspondence/ email;

 02/05/2017     DM       Review correspondence/ email exchanges from TX counsel;         2.00   $725.00     $1,450.00
                         analysis of TRO issues; confer; draft memorandum; review
                         correspondence/ email from           ; review correspondence/
                         email from            ; review Declarations; assess status of
                                Declaration; confer re research on
                                              .

 02/05/2017      JP      Draft Declaration for                                           1.00   $425.00      $425.00

 02/05/2017      JP      Receive and review correspondence from                          0.20   $425.00       $85.00
                         regarding                              .

 02/06/2017      JP      Correspondence with                 regarding             and   1.40   $425.00      $595.00
                         receive and review additional correspondences; Conferences
                         with Mr. Lemann and Mr. Massey regarding witnesses and
                         Receive and review related correspondence; Conference with
                                      regarding underlying facts; Receive and review
                         filed stipulation.

 02/06/2017     DM       Review correspondence/ email from Dr. Kumar; draft              4.30   $725.00     $3,117.50
                         responsive correspondence/ email; review correspondence/
                         email from Dr. Green; draft correspondence/ email in
                         response; review correspondence/ email from
                                  ; assess statement; review correspondence/ email re
                                        ; draft memorandum; review correspondence/
                         email exchange with Dr. Kumar; confer re possible claims
                         against MHT

 02/06/2017      JL      Discussions with potential witnesses.                           3.70   $550.00     $2,035.00

 02/07/2017     DM       Review correspondence/ email from Dr. Latterman; confer;        3.90   $725.00     $2,827.50
                         draft correspondence/ email to CP; review correspondence/
                         email re Dr. Khan; confer re PI./TRO; review
                         correspondence/ email re         ; review correspondence/
                         email re               ; review materials re
                                                                 .




                                                       Page 11 of 83
                                                                                                          App. No. 082
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 86 of 182 PageID 1396




                                                                    App. No. 083
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 87 of 182 PageID 1397




                                                                    App. No. 084
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 88 of 182 PageID 1398




                                                                    App. No. 085
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 89 of 182 PageID 1399




                                                                    App. No. 086
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 90 of 182 PageID 1400




                                                                    App. No. 087
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 91 of 182 PageID 1401




                                                                    App. No. 088
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 92 of 182 PageID 1402




                                                                    App. No. 089
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 93 of 182 PageID 1403




                                                                    App. No. 090
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 94 of 182 PageID 1404




                                                                    App. No. 091
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 95 of 182 PageID 1405




                                                                    App. No. 092
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 96 of 182 PageID 1406




                                                                    App. No. 093
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 97 of 182 PageID 1407




                                                                    App. No. 094
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 98 of 182 PageID 1408




                                                                    App. No. 095
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 99 of 182 PageID 1409




                                                                    App. No. 096
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 100 of 182 PageID 1410




                                                                     App. No. 097
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 101 of 182 PageID 1411




                                                                     App. No. 098
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 102 of 182 PageID 1412




                                                                     App. No. 099
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 103 of 182 PageID 1413




                                                                     App. No. 100
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 104 of 182 PageID 1414




                                                                     App. No. 101
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 105 of 182 PageID 1415




                                                                     App. No. 102
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 106 of 182 PageID 1416




                                                                     App. No. 103
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 107 of 182 PageID 1417




                                                                     App. No. 104
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 108 of 182 PageID 1418




                                                                     App. No. 105
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 109 of 182 PageID 1419




                                                                     App. No. 106
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 110 of 182 PageID 1420
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  05/26/2017      JL     Work on Amended complaint. Conference with Massey.             5.00   $550.00    $2,750.00
                         Review client materials.

  05/26/2017     RC      Work on amended complaint.                                     1.30   $775.00    $1,007.50

  05/27/2017      JP     Correspondence with Mr. Massey regarding strategy              0.20   $425.00       $85.00

  05/29/2017      JP     Review Amended Complaint                                       2.80   $425.00    $1,190.00

  05/29/2017     DM      Review communication from              ; review multiple       2.70   $725.00    $1,957.50
                         correspondence/ email exchanges re Master Complaint;
                         review Master Complaint draft; assess; assess AC status of
                         possible joint motion

  05/30/2017     DM      Motion for extension of Master Complaint filing deadline;      4.10   $725.00    $2,972.50
                         meet and confer CP re status and strategy; coordinate
                         approach to AC; analysis of Balboa issues; multiple
                         correspondence/ email exchanges re pleadings; review
                         correspondence/ email re Balboa; draft correspondence/
                         email to direct clients re extension and status; confer CP;
                         coordinate discussions with AC; review correspondence/
                         email with attorney McCollom; draft responsive
                         correspondence/ email; review correspondence/ email
                         exchanges with Court re proposed Order; assess MHT
                         bankruptcy pleadings; assess same; review correspondence/
                         email from Dr. Ortega.

  05/30/2017      JP     Review Motion for Extension of Time; Conference with Mr.       1.70   $425.00      $722.50
                         Massey regarding conference with Sagel; Conference with
                         Mr. Massey regarding strategy; Conference with Mr. Sagel
                         regarding                ; Draft engagement letters for new
                         clients; Correspondence with Dr. Ortega regarding individual
                         lawsuit

  05/30/2017      JL     Work on extension of time to amend complaint. Work on          1.00   $550.00      $550.00
                         settlement negotiations. Work on amended complaint.

  05/31/2017     DM      Confer Josh Bennett; correspondence/ email re same; confer     2.90   $725.00    $2,102.50
                         CP re strategy and approach; review correspondence/ email
                         from Bradley Leire; confer and coordinate; confer Steven
                         Stallings; confer Dr. Latterman; confer            ; assess
                         issues central to Tx docs; review correspondence/ email from
                         Dr. Patel re       , and draft responsive correspondence/
                         email; review correspondence/ email from Dr. Kumar.

  05/31/2017      JL     Confer with attorney for potential witness/client. Work on     2.20   $550.00    $1,210.00
                         amended complaint. Work on fact investigation.

  06/01/2017      JP     Research and fact investigation for master complaint,          1.40   $425.00      $595.00
                         including draft memo to Mr. Lemann and conferences
                         regarding same; review order on extension and related
                         correspondence

  06/01/2017     DM      Confer CP and TX team re Master Complaint, research            2.70   $725.00    $1,957.50
                         coordination, status of negotations; review correspondence/
                         email from Court, and review Order extending delay to file
                         Master Complaint; draft memorandum; draft correspondence/




                                                       Page 36 of 83
                                                                                                         App. No. 107
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 111 of 182 PageID 1421




                                                                     App. No. 108
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 112 of 182 PageID 1422




                                                                     App. No. 109
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 113 of 182 PageID 1423




                                                                     App. No. 110
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 114 of 182 PageID 1424
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         MHT - 7/14; draft correspondence/ email re same; mulitple
                         correspondence/ email re AMHT creditors meeting;
                         coordiate participation at hearing; draft correspondence/
                         email to            ; review correspondence/ email from AC
                         counsel; review additional data for spreadsheet to permit
                         interest calculation; assess data; draft correspondence/ email
                         to AC counsel; confer re status and strategy with CP and TX
                         team; mutiple correspondence/ email; confer accounting
                         consultant re assessment and varible runs for settlement
                         buckets.

  06/20/2017      JL     Work on revised complaint. Work on mediation issues.             4.50   $550.00    $2,475.00

  06/20/2017     RC      Confer for litigation strategy.                                  0.30   $775.00      $232.50

  06/21/2017     DM      Multiple correspondence/ email with accounting consultant;       4.80   $725.00    $3,480.00
                         assess data and varibles; correspondence/ email exchanges
                         with MI counsel; assess BR issues; review correspondence/
                         email from TX counsel (Bennett) re MHT BR Creditor's
                         hearing scope; draft memorandum; confer Kirk Morgan, MI
                         Counsel; review most current, revised draft of Master
                         Complaint; assess same.

  06/21/2017      JL     Work on revising the global complaint.                           3.30   $550.00    $1,815.00

  06/22/2017      JP     Conference with Mr. Guillot and correspondence related to        0.30   $425.00      $127.50
                         engagement letter

  06/22/2017     DM      Multiple correspondence/ email re data parameters and            4.20   $725.00    $3,045.00
                         analytics; confer re same; conferences with accounting
                         consultant and team; assess buckets for proposed settlement
                         classes, confer accounting consultant re interest and level of
                         activity parameters and analytics; assess runs; review
                         correspondence/ email from TX counsel re scope of BR
                         hearing on 7/14; review separate correspondence/ email from
                         Bennett re                                              ;
                         assess.

  06/23/2017     DM      Confer accounting consultant; review memoranda; review           5.80   $725.00    $4,205.00
                         data; assess possible settlement parameters; review
                         correspondence/ email from MI counsel; assess same; draft
                         correspondence/ email to MI counsel; confer CP team; draft
                         correspondence/ email to MI counsel; confer MI counsel;
                         correspondence/ email to team re settlement issues; status
                         and stragety; draft correspondence/ email; review
                         correspondence/ email from Stammel re mediation and
                         mediators; confer Stammel re mediation and multiple issues;

  06/23/2017     RC      Work on settlement.                                              0.40   $775.00      $310.00

  06/25/2017     DM      Review correspondence/ email from accounting consultant;         3.40   $725.00    $2,465.00
                         assess same and analytics re interest; assess impact of
                         changes in interest rate on global values; review
                         correspondence/ email from Stammel re extension; draft
                         correspondence/ email to class team; review subsequent
                         correspondence/ email from Stammel; draft memorandum;




                                                           Page 40 of 83
                                                                                                           App. No. 111
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 115 of 182 PageID 1425




                                                                     App. No. 112
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 116 of 182 PageID 1426




                                                                     App. No. 113
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 117 of 182 PageID 1427




                                                                     App. No. 114
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 118 of 182 PageID 1428




                                                                     App. No. 115
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 119 of 182 PageID 1429




                                                                     App. No. 116
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 120 of 182 PageID 1430




                                                                     App. No. 117
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 121 of 182 PageID 1431




                                                                     App. No. 118
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 122 of 182 PageID 1432




                                                                     App. No. 119
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 123 of 182 PageID 1433




                                                                     App. No. 120
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 124 of 182 PageID 1434




                                                                     App. No. 121
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 125 of 182 PageID 1435




                                                                     App. No. 122
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 126 of 182 PageID 1436




                                                                     App. No. 123
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 127 of 182 PageID 1437
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  08/30/2017      JL     Telephone conference with Ryan Allen and discussion with        1.30   $550.00      $715.00
                         internal team regarding settlement developments and
                         amended complaint.

  08/30/2017      JL     Telephone conference with Tim Van Mol.                          0.70   $550.00      $385.00

  08/30/2017      JL     Work on settlement analysis and work on amended                 1.20   $550.00      $660.00
                         complaint.

  08/30/2017      JP     Review new draft of amended master complaint; Conference        0.70   $425.00      $297.50
                         with Mr. Massey regarding settlement

  08/30/2017     DM      Confer CP re evaluation and analysis of settlement strategies   4.20   $725.00    $3,045.00
                         and scenarios for resolution of Univest and Balboa docs
                         claims versus AC/ McKenzie; prepare for and call with
                         attorney Ryan Allen; draft memorandum; confer REC;
                         correspondence/ email to attorneys Tawil, De Leon, Haidery
                         and Morgan; confer De Leon; review correspondence/ email
                         from Tawil, and draft responsive correspondence/ email;
                         confer and review materials re further revisions to Master
                         Complaint.

  08/31/2017      JL     Work on amended pleading. Work on motion to approve             3.10   $550.00    $1,705.00
                         settlement. Work on settlement negotiations.

  08/31/2017     DM      Multiple conferences with accountant and CP; assess status;     1.80   $725.00    $1,305.00
                         address settlement issues; review recent draft settlement
                         stipulation.

  09/01/2017     DM      Confer Dickerson; confer CP; review metrics of proposed         3.80   $725.00    $2,755.00
                         settlement; assess Univest and Balboa issues; analysis of
                         procedure to remove AC/ Univest docs from settlement or
                         address opt out threshold; confer and coordinate settlement
                         issues; call to Leon; call to Josh Bennett; multiple
                         correspondence/ email re settlement issues and master
                         complaint; review most recent iteration of master complaint,
                         and review alternative version in event of Ascentium
                         resolution.

  09/01/2017      JL     Work on drafting settlement language. Work on amended           3.80   $550.00    $2,090.00
                         complaint. Confer with Patel. Work on client reporting.

  09/02/2017     DM      Confer CP re settlement issues; review correspondence/          1.00   $725.00      $725.00
                         email exchanges; assess master complaint drafts; coordinate
                         master complaint filing and addressing alternate versions of
                         master complaint; confer CP.

  09/03/2017     DM      Correspondence/ email exchanges; review stipulation of          0.90   $725.00      $652.50
                         settlement draft; confer CP; draft correspondence/ email re
                         revisions; confer CP re addressing bucket issues and master
                         complaints.

  09/03/2017      JL     Conference call with co-counsel and work on settlement          1.20   $550.00      $660.00
                         drafting.

  09/04/2017      JL     Work on motion to approve settlement. Work on draft of          4.50   $550.00    $2,475.00
                         stipulated settlement.




                                                       Page 53 of 83
                                                                                                          App. No. 124
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 128 of 182 PageID 1438




                                                                     App. No. 125
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 129 of 182 PageID 1439
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         confer CP; assess MHT BR trustee order; confer Kirk
                         Morgan;

  09/08/2017      JL     Review emails from class members and lawyers. Confer with       0.90   $550.00      $495.00
                         Patel and Van Mol.

  09/08/2017     DM      Review correspondence/ email exchange re MHT BR filings;        1.00   $725.00      $725.00
                         assess and coordinate; address BR issues and consider scope
                         of release language re AC settlement proposal; draft
                         memoranda;

  09/10/2017      JL     Work on amended complaint.                                      3.20   $550.00    $1,760.00

  09/10/2017      JL     Conference call with clients re potential settlement.           1.00   $550.00      $550.00

  09/11/2017     DM      Confer CP; review current drafts amended complaint/ master      4.80   $725.00    $3,480.00
                         complaint; review current draft motion for preliminay
                         settlement, certification of settlement class, etc.; review
                         correspondence/ email from Stammel; confer Stammel;
                         confer CP; multiple conferences and correspondence/ email
                         to and from accountant, Dickerson; assess, analyze and arrive
                         at proposal to address
                                 ; confer; correspondence/ email to Stammel; confer re
                         Univest; confer re outstanding stipulation issues.

  09/11/2017      JL     Work on settlement.                                             4.00   $550.00    $2,200.00

  09/12/2017      JP     Draft Nondisclosure Agreement for Mr. Morgan                    0.30   $425.00      $127.50

  09/12/2017     DM      Review correspondence/ email from AC counsel; review            5.20   $725.00    $3,770.00
                         materials; confer AC counsel re settlement proposal; confer
                         MI counsel, Kirk Morgan; revision draft NDA; confer;
                         review materials re same; correspondence/ email with Ryan
                         Allen; confer Leon Carter; review and assess bucketed
                         divisions; review subsequent correspondence/ email from
                         Stammel; draft responsive correspondence/ email; participate
                         in conference call; review correspondence/ email with Stip.
                         of Settlement; Melby call, confer Dr. Melby; review
                         correspondence/ email from Dr. Obi; call from MHT BR
                         trustee, Levik; assess MHT issues; assess indemnity issues.

  09/12/2017      JL     Several calls with opposing counsel and consulting CPA.         7.50   $550.00    $4,125.00
                         Work on settlement negotiations.

  09/13/2017     DM      Review correspondence/ email from Stammel; review Stip of       5.50   $725.00    $3,987.50
                         Settlement; correspondence/ email to Stammel; review
                         materials re class settlement; confer accountant consultant,
                         Dickerson; confer Lemann; review correspondence/ email
                         from Dickerson and analysis of AC proposal; draft multiple
                         comments re AC proposed Stip. of Settlement; confer CP;
                         assess scope of proposed settlement - inclusion of prior
                         doctors in program, no longer owing any IPAs; confer
                         Couhig;correspondence/ email to Leon Carter; assess
                         comments from attorney Jordan Leu; review correspondence/
                         email exchange from Dr.Latterman; call from Dr. Latterman;
                         confer; review correspondence/ email exchange from Dr.
                         Bhagia.




                                                        Page 55 of 83
                                                                                                          App. No. 126
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 130 of 182 PageID 1440




                                                                     App. No. 127
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 131 of 182 PageID 1441




                                                                     App. No. 128
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 132 of 182 PageID 1442




                                                                     App. No. 129
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 133 of 182 PageID 1443
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         coordinate discussions with counsel; review correspondence/
                         email re proposed order; review correspondence/ email from
                         court filing system re enollment of counsel; assess settlement
                         issues.

  09/28/2017      JP     Correspondence with Mr. Guillot and Mr. Lemann regarding         0.20   $425.00       $85.00
                         settlement

  09/28/2017      JL     Confer with clients. Confer with counsel for clients. Evaluate   2.10   $550.00    $1,155.00
                         accounting issues. Work on post approval requirements.

  09/28/2017     DM      Confer and review multiple corrrespondence/ email                0.20   $725.00      $145.00
                         exchanges re settlement.

  09/29/2017      JL     Calls and correspondence with clients regarding settlement.      1.80   $550.00      $990.00

  09/29/2017     DM      Call from AC counsel; confer; confer CP.                         0.30   $725.00      $217.50

  10/02/2017     DM      Assess status of settlement motion; correspondence/ email re     0.80   $725.00      $580.00
                         same; call from attorney Ryan Allen; confer; review
                         correspondence/ email from consultant Dickerson; draft
                         correspondence/ email re same.

  10/03/2017     DM      Call from attorney Alyan Hadiery; confer; review recent          2.00   $725.00    $1,450.00
                         public articles and information about Ascentium/MHT
                         scheme, and litigation; review corrrespondence/ email from
                         Dr. Bhagia; review corrrespondence/ email from BR court
                         and review order re assets; call from attorney Crouch; confer;
                         review pleadings

  10/04/2017      JL     Phone calls with putative members. Review due process class      1.70   $550.00      $935.00
                         action certification issues.

  10/04/2017     DM      Confer Paul Crouch; confer re status; review filings; confer     1.20   $725.00      $870.00
                         CP; assess tax issue raised by several docs.

  10/05/2017      JL     Confer with potential class members re settlement terms.         1.00   $550.00      $550.00

  10/05/2017     DM      Correspondence/ email with TX counsel re status of order         0.80   $725.00      $580.00
                         and hearing (if any) on joint motion for preliminary approval;
                         review responsive correspondence/ email; confer CP;
                         coordinate strategy.

  10/06/2017     DM      Review correspondence/ email from Dr. Latterman re status;       1.60   $725.00    $1,160.00
                         draft responsive correspondence/ email; review
                         correspondence/ email from Dr. Kumar; draft responsive
                         correspondence/ email; review ECF filings - motion to enroll
                         Univest counsel; review correspondence/ email from Dr.
                         Ortega, and review response by Jeff Pastorek;

  10/11/2017     DM      Confer CP; assess same; confer re settlement status; call from   1.70   $725.00    $1,232.50
                         Paul Crouch; correspondence/ email; call with Latterman and
                         Sandy;

  10/12/2017      JL     Confer with Kirk Morgan. Work on motion in support of            1.00   $550.00      $550.00
                         approval. Review defendants' response.




                                                       Page 59 of 83
                                                                                                           App. No. 130
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 134 of 182 PageID 1444
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  10/12/2017     DM      Review correspondence/ email from AC counsel, and review        2.00   $725.00    $1,450.00
                         AC memorandum in support of motion for preliminary;
                         confer; review certification and settlement; draft
                         correspondence/ email to AC counsel; draft correspondence/
                         email to co-counsel for class; review correspondence/ email
                         from Morgan, and review creditor's hearing transcript; assess
                         correspondence/ email.

  10/13/2017     DM      Review correspondence/ email from Court's ECF system;           0.70   $725.00      $507.50
                         review correspondence/ email from Latterman; assess; assess
                         status of settlement; correspondence/ email to CP team.

  10/15/2017     DM      Correspondence/ email exchanges re addressing objections to     1.40   $725.00    $1,015.00
                         settlement; review correspondence/ email exchanges from
                         Kirk Morgan and review materials re "novotation" with AC
                         and MHT; draft correspondence/ email to attorney Morgan;
                         draft correspondence/ email to Patel.

  10/16/2017      JP     Receive and review correspondence from Mr. Massey, Mr.          1.10   $425.00      $467.50
                         Patel, and Mr. Morgan

  10/16/2017     DM      Review correspondence/ email from attorney Morgan;              3.20   $725.00    $2,320.00
                         review correspondence/ email exchange; review materials,
                         and draft response; review correspondence/ email from
                         Univest doctor re Univest dismissal of AC; review
                         subsequent correspondence/ email; assess; draft responsive
                         correspondence/ email; draft memorandum to CP team;
                         review correspondence/ email from doctor rep re feedback on
                         settlement; draft responsive correspondence/ email, and
                         review correspondence/ email exchange; draft
                         correspondence/ email to CP team; assess MHT BR status;
                         draft memorandum; assess enrollment in MHT BR matter;
                         review correspondence/ email exchanges - CP.

  10/16/2017      JL     Discussions with Kirk Morgan. Work on analysis of               1.40   $550.00      $770.00
                         Morgan's clients.

  10/17/2017     DM      Review correspondence/ email from Leslie Latterman;             0.50   $725.00      $362.50
                         review responsive correspondence/ email from attorney
                         Stallings; review memorandum; review correspondence/
                         email re same; confer counsel re status.

  10/18/2017     DM      Confer re status of matter; review correspondence/ email        0.30   $725.00      $217.50
                         from MI counsel; review correspondence/ email from Dr.
                         Bhagia; assess; review correspondence/ email re scheduling.

  10/19/2017     DM      Review correspondence/ email from Dr. Bhagia re status;         0.20   $725.00      $145.00
                         draft responsive correspondence/ email.

  10/20/2017     DM      Review correspondence/ email from Kirk Morgan (MI)              1.00   $725.00      $725.00
                         requesting conference call with his clients and us; confer;
                         draft correspondence/ email to coordinate; draft
                         correspondence/ email to Morgan; review responsive
                         correspondence/ email; review correspondence/ email from
                         Dr. Bhagia re status; draft response; draft memorandum;
                         draft correspondence/ email;




                                                       Page 60 of 83
                                                                                                          App. No. 131
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 135 of 182 PageID 1445




                                                                     App. No. 132
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 136 of 182 PageID 1446
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  11/17/2017     DM      Review correspondence/ email exchange re contacting Judge        0.20   $725.00      $145.00
                         Lynn's chambers; confer counsel.

  11/21/2017     DM      Review correspondence/ email from co-counsel; review             1.00   $725.00      $725.00
                         subsequent correspondence/ email from Court's Senior Clerk;
                         draft memorandum; call from Las Vegas counsel (Verrichio)
                         re status and strategy; draft memorandum; review
                         correspondence/ email from Dr. Patel; draft correspondence/
                         email re same.

  11/22/2017      JP     Receive and review Order on class settlement from Court and      0.80   $425.00      $340.00
                         related correspondence with Mr. Massey, Mr. Couhig, and
                         clients

  11/22/2017      JL     Review Court's order and work on correspondence to clients.      1.10   $550.00      $605.00

  11/22/2017     DM      Review correspondence/ email exchanges with counsel;             1.70   $725.00    $1,232.50
                         review ECF court communication; review executed order;
                         draft correspondence/ email to all direct clients; confer and
                         review correspondence/ email from Dr. Latterman; review
                         correspondence/ email from Dr. Patel; draft responsive
                         correspondence/ email; review correspondence/ email from
                         Dr. Duhaney; draft memorandum.

  11/27/2017      JL     Calls with lawyers for class members.                            0.40   $550.00      $220.00

  11/27/2017     DM      Confer class counsel; confirm notice agent engaged               0.10   $725.00       $72.50

  11/28/2017      JL     Calls with clients. Work on scheduling and deadlines             1.40   $550.00      $770.00
                         pursuant to Court order.

  11/28/2017      JL     Monitor bankruptcy and analyze responsibilities.                 0.50   $550.00      $275.00

  11/28/2017     DM      Review correspondence/ email from Ryan Allen re status;          2.80   $725.00    $2,030.00
                         review correspondence/ email from Dr. Latterman; confer re
                         class notice; coordinate deadlines; confer CP team re strategy
                         re tax opinion and related information communication;
                         review MHT Bankruptcy deadline for POC; review
                         correspondence/ email from BR court; draft memorandum;
                         draft correspondence/ email; confer CP team re strategy.

  11/29/2017      JL     Conference call with Ryan Allen and Dana Campbell.               1.60   $550.00      $880.00
                         Review issues raised in call.

  11/29/2017     DM      Communication from attorney Allen; communication from            2.60   $725.00    $1,885.00
                         Dr. Latterman; draft responsive correspondence/ email re
                         same; conferences with Ryan Allen and Dana Campbell;
                         draft memorandum; confer re notice issues; review
                         correspondence/ email from Dr. Latterman re
                                  ; assess and draft responsive correspondence/ email;
                         review correspondence/ email from Campbell to AC counsel,
                         and review responsive correspondence/ email.

  12/01/2017      JL     Correspondence to opposing counsel. Review notice and            0.60   $550.00      $330.00
                         order provisions. Work on Intervention.

  12/04/2017      JP     Review notices drafted by counsel for Ascentium                  0.40   $425.00      $170.00




                                                        Page 62 of 83
                                                                                                           App. No. 133
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 137 of 182 PageID 1447




                                                                     App. No. 134
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 138 of 182 PageID 1448




                                                                     App. No. 135
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 139 of 182 PageID 1449




                                                                     App. No. 136
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 140 of 182 PageID 1450




                                                                     App. No. 137
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 141 of 182 PageID 1451




                                                                     App. No. 138
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 142 of 182 PageID 1452




                                                                     App. No. 139
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 143 of 182 PageID 1453




                                                                     App. No. 140
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 144 of 182 PageID 1454




                                                                     App. No. 141
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 145 of 182 PageID 1455




                                                                     App. No. 142
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 146 of 182 PageID 1456




                                                                     App. No. 143
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 147 of 182 PageID 1457




                                                                     App. No. 144
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 148 of 182 PageID 1458




                                                                     App. No. 145
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 149 of 182 PageID 1459
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  02/21/2018     CG      Edit Motion to Approve Settlement                                 0.70   $390.00      $273.00

  02/21/2018     RC      Review draft motion to approve                                    0.40   $775.00      $310.00

  02/22/2018      JL     Calls with Morgan Broaddus. Confer with Jordan Leu.               5.80   $550.00    $3,190.00
                         Prepare response to tax opinion letter. Telephone with Al
                         Courcelle. Work on declarations and motions for fairness
                         hearing and attorney fees. Confer with Settlement
                         Administrator. Work on preparation for Fairness Hearing.
                         Work on proofs of claim. Confer with Josh Bennett.

  02/22/2018     DM      Draft correspondence/ email to De Leon re tax opinion; draft      2.60   $725.00    $1,885.00
                         memorandum seeking review and comments on draft from
                         CPA and class counsel team; review correspondence/ email
                         re Jack Read (S.Car); review correspondence/ email from
                         Dee Hobbs (MS) re client settlements; draft responsive
                         correspondence/ email;

  02/22/2018      JP     Correspondence with plaintiffs and co-counsel regarding           0.70   $425.00      $297.50
                         fairness hearing, settlement matters, and motions for fairness
                         hearing

  02/22/2018      JP     Preparation of and edits to documents and memorandum for          0.60   $425.00      $255.00
                         fairness hearing

  02/22/2018     CG      Edit Legal Citations in Motion to Approve Settlement              1.50   $390.00      $585.00

  02/23/2018      JL     Work on motions. Confer with Jordan Leu re Multiple               4.20   $550.00    $2,310.00
                         guarantors. Review Hermosa objection and work on
                         response. Review tax opinion and participate on multiple
                         calls re Same.

  02/23/2018     DM      Review correspondence/ email from De Leon; coordinate             4.70   $725.00    $3,407.50
                         class reps meeting prior to hearing; confer Ryan Allen re
                         status of possible opt outs; assess same; review multiple
                         correspondence/ email re MHT bankruptcy filing; confer CP
                         re call with Mitchell, AC counsel and other; review
                         correspondence/ email from attorney Kirk Morgan (MI);
                         assess same; call with Morgan; call with Couhig; assess
                         status of tax discussion; confer CP; call from Latterman;
                         review correspondence/ email re opt outs; review
                         correspondence/ email and draft of components of motion to
                         approve;

  02/23/2018      JP     Review and edit Massey Declaration                                2.00   $425.00      $850.00

  02/23/2018     CG      Edit Massey MHT Declaration                                       1.70   $390.00      $663.00

  02/23/2018     RC      Conferences with Mr. Massey regarding several settlement          0.60   $775.00      $465.00
                         matters

  02/24/2018     DM      Correspondence/ email to attorney Allen (DFW) re fee              3.20   $725.00    $2,320.00
                         application and status; draft correspondence/ email to
                         attorney Tawil (McAllen) re fee application and status; draft
                         correspondence/ email to attorney Morgan (MI) re fee
                         application and status; confer CP re opt out related issues and
                         fee applications; confer Ike Tawil; confer Dana Campbell;




                                                       Page 75 of 83
                                                                                                            App. No. 146
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 150 of 182 PageID 1460
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         review correspondence/ email from Kirk Morgan; multple
                         conferences with Lemann re briefing issues.

  02/24/2018     RC      Conferences and correspondence with Couhig team                   0.30   $775.00      $232.50
                         regarding opt out related issues and fee applications

  02/25/2018     DM      Review correspondence/ email from Dr. Rettig; draft               4.70   $725.00    $3,407.50
                         memorandum to Lemann and Pastorek re status; review fee
                         application materials; review and revise motion for approval;
                         review correspondence/ email from Court re Order on pro
                         hac admission for Michigan counsel; confer Kirk Morgan re
                         fee application and objections; review draft motion to
                         approve and briefing memorandum; draft revisions to same;
                         correspondence/ email exchanges with CP; review draft
                         Massey Declaration; draft revisions to same; draft
                         correspondence/ email among class counsel team; draft
                         correspondence/ email re MI doctor possible objections and
                         status of fee applications for non-class counsel; confer
                         Morgan; review correspondence/ email and draft
                         correspondence/ email to CP team

  02/25/2018     CG      Edit and Organize Citations in Motion to Approve                  2.10   $390.00      $819.00
                         Settlement; Review Massey Declaration edits/comments

  02/26/2018     DM      Review correspondence/ email from Dr. Latterman; confer           6.40   $725.00    $4,640.00
                         and draft correspondence/ email/ text message re tax issues;
                         confer Eric De Leon; assess                                   ;
                         assess                                                      ;
                         review correspondence/ email with Settlement Administrator;
                         assess                                          ; assess
                         objections; review correspondence/ email from Morgan re
                         MI doctors; draft memorandum to CP; review records re
                         Balboa MDs opt out position; draft memorandum; assess
                         status and strategy; coordinate same; review Massey
                         Declaration and revise; review materials from Carter, Scholer
                         re fees and costs; review MHT BR filing; review
                         correspondence/ email from AC counsel requesting extension
                         of time for BR trustee to object to bar order; assess same;
                         review draft of motion to approve; draft correspondence/
                         email to Ryan Allen; call from De Leon; assess status of
                         claims; review objection for Dr. Arnaud; draft memorandum;
                         review earlier objection; review scanned objections from
                         settlement administrator; correspondence/ email exchanges
                         with Arnette (BR Atty with Carter Scholer); review
                         correspondence/ email from attorney Morgan Broadus re
                         intention to opt out S.Car. physician group; assess facts;
                         coordinate briefing; review correspondence/ email from
                         Latterman; draft responsive correspondence/ email re opt
                         outs

  02/26/2018      JL     Work on fairness hearing motions and declarations. Work on        6.30   $550.00    $3,465.00
                         bankruptcy filings on behalf of the class. Work on responses
                         to various class members. Correspondence with opposing
                         counsel. Confer with settlement administrators and review
                         exclusion notices. Confer with outside counsel re common
                         benefit applications.




                                                       Page 76 of 83
                                                                                                            App. No. 147
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 151 of 182 PageID 1461
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  02/26/2018     CG      Verify all legal authority cited in Motion to Approve            1.50   $390.00      $585.00
                         Settlement

  02/26/2018      JP     Preparation of and edits to documents and memoranda for          5.90   $425.00    $2,507.50
                         fairness hearing

  02/26/2018     RC      Review and respond to correspondence and memoranda from          0.60   $775.00      $465.00
                         Mr. Massey on settlement matters

  02/27/2018      JL     Work on declarations. Work on bar order extension. Work on       6.50   $550.00    $3,575.00
                         motions in connection with fairness hearing. Confer with
                         attorneys seeking common benefit. Correspond with objector
                         re Hermosa. Work on other class inquiries. Call with
                         Stammel. Confer with settlement administrator and review
                         exclusions.

  02/27/2018     DM      Review settlement agreement and related pleadings re opt out     6.70   $725.00    $4,857.50
                         threshold and related issues; review Massey Declaration and
                         revise; draft memorandum; review updated draft of Motion
                         to Approve; review correspondence/ email from attorney
                         Kirk Morgan (MI); review materials re same; review
                         correspondence/ email from AC counsel re trustee bar order
                         extension; assess same; correspondence/ email exchanges re
                         same; review correspondence/ email from CPA Courcelle;
                         draft memorandum, and draft correspondence/ email re same;
                         review correspondence/ email from settlement administrator;
                         review subsequent correspondence/ email; assess opt out
                         forms provided; review AC spreadsheets of loan values and
                         gaurantors; confer re same; assess opt outs and assess
                         threshold; review multiple correspondence/ email exchanges
                         among CP team; call with Lemann and Stammel; assess
                         spreadsheet of opt outs; review memorandum re Dr. Amin
                         (opt out) materials; confer claimant David Webster; draft
                         correspondence/ email re same; review Dr. Amin materials;
                         draft correspondence/ email to Dr. Amin re exclusion
                         request; draft memorandum

  02/27/2018      JP     Preparation of and edits to documents and memoranda for          7.40   $425.00    $3,145.00
                         fairness hearing

  02/27/2018     CG      Verify all legal authority cited in Motion to Approve            2.00   $390.00      $780.00
                         Settlement

  02/27/2018     RC      Correspondence and conferences with Couhig team                  0.40   $775.00      $310.00
                         regarding recent filings with the settlement administrator and
                         other settlement matters

  02/28/2018     CG      Edit all portions of Motion to Approve Settlement                2.00   $390.00      $780.00

  02/28/2018     DM      Review correspondence/ email re Hermosa Home Visits              5.60   $725.00    $4,060.00
                         MHT; assess same; review multiple correspondence/ email re
                         opt out status and interrelationship of opt out claimants;
                         confer Stammel and Lemann; multiple conferences with CP
                         class team; review correspondence/ email from Settlement
                         Administrator re opt outs for 2/28/2018; review drafts of
                         Massey Declarations; updates to opt out lists; assess process
                         for addressing opt out claimants or counsel (if represented);




                                                       Page 77 of 83
                                                                                                           App. No. 148
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 152 of 182 PageID 1462
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         review correspondence/ email from Stammel re Allen "opt
                         ins;" review Allen 8/17/2017 client listing; assess exclusions,
                         draft correspondence/ email to CP team; multiple
                         conferences re opt outs, settlement agreement provisions and
                         related issues

  02/28/2018      JP     Edits to Massey Declaration                                       1.50   $425.00      $637.50

  02/28/2018      JL     Work on fairness hearing motions. Work on Hermosa                 6.10   $550.00    $3,355.00
                         correspondence. Telephone conference with Stammel.
                         Review notices and confer with settlement administrator.
                         Confer Tawil.

  02/28/2018     RC      Correspondence and conferences with Couhig team                   0.50   $775.00      $387.50
                         regarding settlement administrator filings and other
                         settlement matters

  03/01/2018     RC      Conference with Mr. Massey, Mr. Pastorek, and Mr. Lemann          1.10   $775.00      $852.50
                         regarding class member responses and fairness hearing;
                         Conference call with counsel for defendant and Couhig
                         Partners team

  03/01/2018      JP     Conference with Mr. Couhig, Mr. Massey, and Mr. Lemann            1.10   $425.00      $467.50
                         regarding class member responses and fairness hearing;
                         Conference call with counsel for defendant and Couhig
                         Partners team

  03/01/2018      JL     Work on Fairness Hearing submissions. Confer with                 4.40   $550.00    $2,420.00
                         Settlement Administrator and review opt outs. Conference
                         call with AC counsel.

  03/01/2018     DM      Review correspondence/ email from settlement administrator        5.50   $725.00    $3,987.50
                         re opt outs received; assess total opt outs and assess same;
                         coordinate settlment issues; confer CP; confer AC counsel;
                         review settlement agreement; review correspondence/ email
                         from attorney Sandoval; draft memorandum; draft
                         correspondence/ email to Sandoval; review correspondence/
                         email from attorney De Leon; draft memorandum; confer
                         attorney Crouch; review correspondence/ email/ text re same;
                         draft correspondence/ email; confer CP re opt out status;
                         review Efile notice, and review communication with Court
                         by Renda Holloday; assess same; review brief revisions;
                         correspondence/ email exchanges with Leon Carter and Paul
                         Crouch; multiple conferences with CP lawyers.

  03/02/2018      JP     Receive and review correspondence from potential class            3.00   $425.00    $1,275.00
                         members; Prepare for MHT call, including review of
                         exclusions and related data; Conference with Couhig team
                         and defense counsel and related meetings and discussions

  03/02/2018      JL     Conference calls with AC counsel. Work on fairness hearing        5.40   $550.00    $2,970.00
                         briefs. Confer with Settlement Administrator. Review opt
                         outs.

  03/02/2018     RC      Conference with Couhig team and defense counsel and               3.10   $775.00    $2,402.50
                         related document review and meetings and discussions with
                         Massey and others




                                                        Page 78 of 83
                                                                                                            App. No. 149
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 153 of 182 PageID 1463
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  03/02/2018     DM      Multiple communications with CP; review and assess opt          5.30   $725.00    $3,842.50
                         outs and threshold issues; assess prior communications;
                         coordinate strategy re addressing opt out; confer re
                         addressing objectors on various issues; review materials;
                         assess same; review correspondence/ email from Settlement
                         administrator; assess single new opt out; confer and
                         coordinate CP re discussions with AC counsel; multiple
                         conferences with AC counsel and related issue; draft
                         memorandum re same; coordinate; multiple conferences with
                         AC counsel (Stammel and Leu);

  03/03/2018     RC      Numerous conferences and correspondences related to             2.10   $775.00    $1,627.50
                         negotiations with Ascentium

  03/03/2018     DM      Review correspondence/ email from AC; review opt outs,          2.60   $725.00    $1,885.00
                         and review settlement agreement; assess opt out issues;
                         confer and address opt outs; confer CP; multiple conferences
                         with AC counsel; coordinate fairness hearing issues.

  03/04/2018      JL     Work on Fairness Hearing Submissions.                           3.20   $550.00    $1,760.00

  03/04/2018     RC      Additional numerous conferences and correspondences             2.90   $775.00    $2,247.50
                         related to negotiations with Ascentium

  03/04/2018     DM      Review Massey Declaration; review correspondence/ email         3.80   $725.00    $2,755.00
                         from Josh Bennett re Leon Carter Declaration; confer re
                         same; review correspondence/ email/ text from Paul Crouch;
                         draft memorandum; draft responsive correspondence/ email;
                         review materials re attachments to Declarations; revise;
                         review correspondence/ email from Settlement Administrator
                         re draft Declaration re notice; assess same; draft
                         memorandum; coordinate filing of Settlement Admninstrator
                         Declaration; confer CP re opt outs and ongoing discussions
                         with AC; confer and coordinate;

  03/05/2018      JP     Receive and review correspondence from Mr. Massey, Mr.          6.30   $425.00    $2,677.50
                         Lemann, and Mr. Couhig regarding fairness hearing
                         information from class members, and filings; additional
                         preparation of fairness hearing filings; conferences with Mr.
                         Massey, Mr. Couhig, and Mr. Lemann

  03/05/2018     RC      Additional numerous conferences and correspondences             4.10   $775.00    $3,177.50
                         related to negotiations with Ascentium, including several
                         conferences with Couhig team and defense counsel

  03/05/2018      JL     Finalize and file motion for approval of settlement and         8.80   $550.00    $4,840.00
                         motion for fees and expenses. Calls with Leu. Confer with
                         settlement administrator and review report. Review latest opt
                         outs and objections.

  03/05/2018     DM      Review and finalize motion to approve settlement; confer        7.80   $725.00    $5,655.00
                         and address agreement on opt out; confer and address
                         revisions to motion to award fee; multiple conferences with
                         CP re logistics for hearing, filing of pleadings, and related
                         issues; confer attorney Crouch; final revisions to Massey
                         Declaration; execute; review correspondence/ email from
                         attorney Morgan; draft responsive correspondence/ email;




                                                       Page 79 of 83
                                                                                                          App. No. 150
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 154 of 182 PageID 1464
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




                         review message from Dr. Latterman; review all objections;
                         confer re additional communications with objectors prior to
                         hearing; review multiple court filing system correspondence/
                         email; review two additional objections; review filed motion
                         for final approval and review filed appendix; draft
                         correspondence/ email to attorneys Morgan and Tawil re
                         motion to approve class and appendix; draft correspondence/
                         email to counsel re motion to award fees; call from Dr.
                         Latterman; draft memorandum re communication with direct
                         clients; confer; multiple correspondence/ email exchanges
                         with Settlement Administrator re Declaration; confer re
                         same; confirm whether AC agrees; assess same; coordinate
                         additional conferences with objectors; analysis of objections;
                         address logistics for hearing.

  03/06/2018      JP     Draft declarations for clients, appendix, and other filings for   2.60   $425.00    $1,105.00
                         fairness hearing; preparation for fairness hearing

  03/06/2018     RC      Conferences with Mr. Massey, Mr. Lemann, and Mr.                  2.30   $775.00    $1,782.50
                         Pastorek regarding numerous matters related to the fairness
                         hearing; review recent filings in preparation for fairness
                         hearing

  03/06/2018      JL     Work on fairness hearing preparation. Confer with clients.        2.10   $550.00    $1,155.00
                         Work on bar order issues.

  03/06/2018     DM      Confer CP re objections; review correspondence/ email from        3.20   $725.00    $2,320.00
                         Court filing system, and review objection; compile listing of
                         objections, and assess same; confer Crouch; confer and
                         assess; coordinate logistics for hearing in Dallas; assess;
                         confer Kirk Morgan; assess issues.

  03/07/2018      JP     Preparation for fairness hearing, draft correspondence to         3.60   $425.00    $1,530.00
                         objectors, fact investigation re objectors, conferences with
                         Mr. Couhig and Mr. Massey

  03/07/2018     RC      Conferences with Mr. Massey, Mr. Lemann, and Mr.                  3.10   $775.00    $2,402.50
                         Pastorek regarding numerous matters related to the fairness
                         hearing; contact objectors to discuss fairness hearing and
                         settlement

  03/07/2018      JL     Work on response to objectors. Confer with Leu. Work on           1.30   $550.00      $715.00
                         Settlement Administrator dec and file.

  03/07/2018     DM      Multiple correspondence/ email exchanges re objectors;            4.60   $725.00    $3,335.00
                         confer attorney Reed; calls to objectors; coordinate and draft
                         multiple communications to all objectors; draft
                         correspondence/ email to specific objectors; multiple
                         conferences with AC counsel; confer re filing of AC exhibits
                         addressing class members; review AC appendix; draft
                         memorandum; review correspondence/ email; review
                         jurisprudence;

  03/08/2018      JP     Review response to Motion for Final Approval; Conferences         5.40   $425.00    $2,295.00
                         with Couhig team; Draft partial proposed declaration
                         language; Draft memorandum related to conferences with
                         objectors; other preparation for hearing




                                                        Page 80 of 83
                                                                                                            App. No. 151
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 155 of 182 PageID 1465
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  03/08/2018      RC         Conferences with Mr. Massey, Mr. Lemann, and Mr.                  5.90      $775.00       $4,572.50
                             Pastorek regarding numerous matters related to the fairness
                             hearing; review recent filings in preparation for fairness
                             hearing; conferences with objecting class members;
                             conferences with counsel for Ascentium

  03/08/2018      JL         Work on bar order issues. Work on appendix for hearing.           3.90      $550.00       $2,145.00
                             Review settling defendants brief. Conversations with
                             multiple objectors. Prepare for hearing. Confer with clients
                             and work on inquiries from objectors.

  03/08/2018      DM         Review correspondence/ email from Stammel; draft                  5.70      $725.00       $4,132.50
                             responsive correspondence/ email; confer CP; conferences
                             with AC counsel; conference with Court's clerk; confer re
                             objectors; conference with objector Holloway; conference
                             with staff person for Dr. Hermosa; review and assess
                             objectors; calls to and from objectors; draft memoranda re
                             objector status; review and revise class rep declarations;
                             review correspondence/ email exchanges with AC counsel re
                             bar order; multiple conferences with CP team.

                                                                                            Services Subtotal       $1,785,948.00



  Expenses

     Date      Description                                                                   Quantity      Rate             Total

  01/04/2017   Filing Fee-Texas Secretary of State                                              1.00       $2.05           $2.05

  01/12/2017   Travel-hotel - Hilton Garden Suites                                              1.00      $119.08        $119.08

  01/12/2017   mileage to and from McAllen (686 X 2                                             1.00      $734.02        $734.02

  01/14/2017   Filing Fee-Texas Secretary of State                                              1.00       $2.05           $2.05

  01/14/2017   Filing Fee-Texas Secretary of State                                              1.00       $4.11           $4.11

  01/24/2017   Travel-Airfare to and from Charlotte                                             1.00      $793.00        $793.00

  01/24/2017   Travel-Hotel-Sheraton Charlotte Airport                                          1.00      $271.99        $271.99

  04/22/2017   Travel-Airfare to and from Houston                                               1.00      $275.89        $275.89

  05/15/2017   Filing Fee-Superior Court of California                                          1.00       $9.46           $9.46

  05/17/2017   Shipping-Federal Express, Inv 5-813-50280                                        1.00       $28.76         $28.76

  06/30/2017   Michael Dickerson, Inv 190, Financial and Spreadsheet Analysis                   1.00     $3,280.00     $3,280.00

  07/13/2017   Mileage to/from Bankruptcy Cred.Hearing in Plano, TX                             1.00      $387.34        $387.34

  07/14/2017   Hotel - Aloft Plano                                                              1.00      $129.67        $129.67

  07/18/2017   Christopher Nolland, Attorney-Mediator                                           1.00     $4,500.00     $4,500.00

  07/27/2017   Travel-Southwest                                                                 1.00      $594.96        $594.96




                                                           Page 81 of 83
                                                                                                                      App. No. 152
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 156 of 182 PageID 1466
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  07/27/2017    Southwest Airlines                                                               1.00       $593.96       $593.96

  07/27/2017    Hotel Indigo                                                                     1.00       $178.27       $178.27

  08/01/2017    Michael Dickerson, Inv 199, Financial and Spreadsheet Analysis                   1.00      $2,100.00     $2,100.00

  08/02/2017    Transcription Costs-SHRR                                                         1.00        $89.90        $89.90

  08/06/2017    Travel-Delta Airlines                                                            1.00       $378.20       $378.20

  08/06/2017    Holiday Inn Express, Charlotte, MI                                               1.00        $99.22        $99.22

  08/06/2017    Avis Rent A Car (1/2)                                                            1.00       $156.62       $156.62

  08/09/2017    Mileage - NOLA-HOU (364 Miles) DAL (254 Miles)                                   1.00       $603.48       $603.48

  08/10/2017    Hotel - Courtyard - I-10 Energy Corridor                                         1.00       $148.59       $148.59

  08/11/2017    Inn at Lampasas, TX                                                              1.00        $96.05        $96.05

  08/13/2017    Southwest Airlines - MSY-SAT-MSY                                                 1.00       $701.16       $701.16

  09/22/2017    09/14-15/2017 1/2 Costs of trip: MSY-DFW Southwest Airlines, Hotel               1.00       $492.61       $492.61
                Embassy Suites, Meal with Ryan, Parking NOLA

  09/30/2017    Michael Dickerson, Inv 204, Financial and Spreadsheet Analysis                   1.00       $960.00       $960.00

  02/26/2018    Courcelle Consulting - Tax services related to formulating opinion letter        1.00      $3,498.75     $3,498.75
                and other tax research to notify potential class members of the tax
                implications of the proposed settlement

  03/06/2018    E110 Out-of-town travel: Flight from Charlotte, NC to Dallas, TX for             1.00      $1,013.09     $1,013.09
                Derek Melby-MHT Fairness Hearing

  03/06/2018    E110 Out-of-town travel: Flight from New Orleans, LA to Dallas, TX for           1.00       $628.60       $628.60
                Jonathan Lemann-MHT Fairness Hearing

  03/06/2018    E110 Out-of-town travel: Flight from New Orleans, LA to Dallas, TX for           1.00       $728.61       $728.61
                Rob Couhig Jr.-MHT Fairness Hearing

  03/06/2018    E110 Out-of-town travel: Flight from New Orleans, LA to Dallas, TX for           1.00       $636.60       $636.60
                Robert Couhig, III-MHT Fairness Hearing

  03/10/2018    E110 Out-of-town travel: Mileage - NOLA to DAL (499 Miles)                       1.00       $546.09       $546.09

  03/10/2018    E110 Out-of-town travel: Lodging for attorneys and witnesses for fairness        1.00      $1,998.32     $1,998.32
                hearing

                                                                                            Expenses Subtotal           $26,780.50



  Time Keeper                                                              Quantity                       Rate               Total

  Rob Couhig                                                                  142.5                     $775.00        $110,437.50

  Jeremy Fischbach                                                             17.5                     $390.00          $6,825.00

  Cory Grant                                                                   33.2                     $390.00         $12,948.00




                                                           Page 82 of 83
                                                                                                                       App. No. 153
Case 3:17-cv-00155-M       Document 100 Filed 03/11/18 Page 157 of 182 PageID 1467
            1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




  Jonathan Lemann                                                    751.0                  $550.00     $413,050.00

  Don Massey                                                        1460.4                  $725.00   $1,058,790.00

  Jeff Pastorek                                                      432.1                  $425.00     $183,642.50

  Tate Martin                                                          3.4                   $75.00         $255.00

                                                                                           Subtotal   $1,812,728.50

                                                                                              Total   $1,812,728.50




 Detailed Statement of Account

  Current Invoice

      Invoice Number             Due On            Amount Due                Payments Received         Balance Due

            2343               04/08/2018          $1,812,728.50                   $0.00              $1,812,728.50

                                                                                Outstanding Balance   $1,812,728.50

                                                                                   Amount in Trust            $0.00

                                                                        Total Amount Outstanding      $1,812,728.50




 Please make all amounts payable to: COUHIG PARTNERS, LLC       Tax ID #XX-XXXXXXX




                                                    Page 83 of 83
                                                                                                         App. No. 154
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 158 of 182 PageID 1468




                               Exhibit 3




                                                                     App. No. 155
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                 Page 159 of 182 PageID 1469


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 DR. DEREK MELBY, and DANILO §
 POLICARPIO as individuals and on §
 behalf of all others similarly situated §
                                         §
        Plaintiffs,                      §
                                         §
 v.                                      §                   Case No. 3:17-cv-155
                                         §
 AMERICA’S MHT, INC., SCOTT §
 POSTLE, ACENTIUM CAPITAL, LLC, §
 and CLIFF MCKENZIE                      §
                                         §
        Defendants.                      §



    DECLARATION OF E. LEON CARTER IN SUPPORT OF APPLICATION FOR
     AWARD OF ATTORNEYS' FEES AND REIMBURSEMENT OF EXPENSES



           I, E. Leon Carter, declare as follows:

           1.   I am a member of the firm of Carter Scholer PLLC. I submit this declaration in

   support of my firm’s application for an award of attorneys’ fees in connection with the services

   we provided in this case, and for the reimbursement of expenses that we incurred in filing this

   case.

           2.    Carter Scholer is counsel for plaintiffs and class representatives, Dr. Derek

   Melby, Dr. Danilo Policarpio, Dr. David Guillot and Dr. Jaideep Patel.

           3.   The identification and background of my firm, its partners and associates, who

   devoted substantial time to this matter, is attached hereto as Exhibit A.




                                                 1
                                                                                        App. No. 156
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 160 of 182 PageID 1470



           4.     The total number of hours spent on this litigation by my firm is 153.4 hours,

   which equals $99,320 based my firm’s hourly rates and the lodestar. A breakdown of the

   lodestar is as follows:

                                Inception through February 28, 2018

         ATTORNEY*                  *       HOURS           RATE                LODESTAR

     E. Leon Carter                 P          64.6         $800                     $51,680

     J. Robert Arnett II            P           44          $650                     $28,600

     Joshua J. Bennett              P          44.8         $425                     $19,040

     TOTAL:                                  153.4                                   $99,320


* (P) = Partner

           5.     My firm performed several services for the benefit of our clients and the Class. We

   investigated the facts supporting the allegations in the Complaint by reviewing documents,

   conducting interviews, and researching the parties and witnesses. We responded to class member

   inquiries, and preparation and filing of the Complaint and Amended Complaint and other pleadings

   and motions, and the negotiation of the Partial Class Settlement.

            6.    My firm incurred a total of $2,210.37 in unreimbursed expenses in connection with

   the prosecution of this litigation. These expenses are broken down as follows:

                                             EXPENSES

                              From Inception through January 31, 2018

  Filing Fees                                                                       $1,600
  Pro Hac Vice Fees                                                                   $150
  Postage                                                                           $19.37
  Court Fees (e.g. service of process, miscellaneous filing fees)                     $441




                                                     2
                                                                                               App. No. 157
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                        Page 161 of 182 PageID 1471




              7.      The expenses incurred pertaining to this case are reflected in the books and records

       of this firm. These books and records are prepared from expense vouchers and check records and

       are an accurate record of the expenses incurred. See billing records attached Exhibit B hereto.

              8.     I have been an attorney practicing in Dallas for more than 25 years and a

      managing partner of my firm since it opened in 2012.

              9.     I have reviewed all declarations and exhibits submitted along with this Motion for an

      Approval of Attorney Fee Award.

              I 0.   The rates reflected in the declarations and exhibits are reasonable and within the

      market range for comparably qualified attorneys practicing in Dallas in a complex case like this

      one.

              11.    I understand that rate sheets for the state may reflect a lower rate. But, in my

      experience, those rates are geared more toward less complex cases, such as commercial contract

      disputes or insurance-related cases. A case like this one, that involves many different parties and

      conspirators and many complex transactions between the victims and the defendants, warrants

      much higher rates. There are many firms in Dallas that would charge much higher rates to pursue

      or defend a case like this one, which would also be reasonable.

                     I declare under penalty of perjury that the foregoing is true and correct.



   Date: March 3, 2018




                                                      3



                                                                                                  App. No. 158
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 162 of 182 PageID 1472




                            Exhibit LC-A




                                                                     App. No. 159
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 163 of 182 PageID 1473




          Carter Scholer PLLC is a litigation and intellectual property firm in Dallas,
          Texas. We represent clients in a variety of industries, including banking,
          financial services, telecommunications, electronics, technology, oil and gas,
          document management, municipalities, insurance, and consumer goods. We
          represent numerous clients in state and federal courts in Texas, across the United
          States and before the United States Patent and Trademark Office.

          Our firm combines years of expertise with excellent legal representation and
          exceptional client service. Respected, recognized, and results-oriented, our firm
          is the solution to your legal needs.

          Our practice areas include: business litigation; complex tort litigation;
          intellectual property litigation; insurance matters; and labor & employment
          matters.




                                         CARTERSCHOLER.COM
                                                                                               App. No. 160
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                        Page 164 of 182 PageID 1474


                                                                        Representative Experience
                                                                               Business Litigation


     ▪   Fraud/ breach of fiduciary duty action involving corporate officers, directors, and
         shareholders.

     ▪   Employment-related matters including benefits, severance, and discrimination claims as
         well as non-compete and non-disclosure agreements and misappropriation of trade secrets
         issues.

     ▪   Representation of telecommunications company in breach of contract case. Obtained
         verdict for all amounts sought after four-day jury trial.
     •   Negotiating and securing the first ten (10) year high-tech pioneer tax status ever awarded
         to any technology joint venture by the Malaysian government. Negotiating and obtaining
         initial financing from governmental agencies, venture capital, and financial institutions
         in Malaysia for the $20 million dollar project.

     ▪   Represented landlord in dispute involving commercial lease of multi-million dollar
         property.

     ▪   Representation of medical provider in multi-million dollar breach of contract and fraud
         action involving medical billings and collections.

     ▪   Represented commercial real estate broker in suit involving fraud and misrepresentation
         pertaining to exclusive listing agreement and commercial real estate broker’s fee.

     ▪   Represented broker/dealer in multi-million dollar securities fraud investigation and
         arbitration.

     ▪   Represented numerous entities in high-value collections, suits on accounts, promissory
         notes, guaranty agreements, and deeds of trust.

     ▪   Obtained summary judgment, without any discovery, for client who obtained interest in
         oil and gas leases at a foreclosure sale on Plaintiff's claims that foreclosure sale was invalid
         and that client was required to share its interest in the oil and gas leases with Plaintiff.




                                            CARTERSCHOLER.COM
                                                                                                      App. No. 161
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 165 of 182 PageID 1475




                                                                     App. No. 162
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 166 of 182 PageID 1476


                                                                   Representative Experience
                                                                     Construction Litigation


     ▪   Represented major U.S. airline in litigation matters involving removal and replacement
         of defective terrazzo floors in newly constructed airport terminal and defective
         construction of taxiway subgrade and concrete pavement.

     ▪   Lead trial counsel for plaintiff seeking damages for breach of architectural services
         contract for design of jail.

     ▪   Defended claims of negligent construction of the University of Texas Southwest Medical
         Center Research Facility.

     ▪   Successfully defended breach of roofing contract claim in binding arbitration on behalf
         of roofing contractor.

     ▪   Successfully mediated claims made by electrical subcontractor against general contractor
         involving luggage handling conveyor system at international airport.

     ▪   Obtained favorable judgment as lead trial counsel for breach of construction contract
         claim involving defective scaffolding.

     ▪   Successfully mediated claims made by concrete subcontractor against general contractor
         involving construction of office building.

     ▪   Lead counsel responsible for recovering declaratory judgment on behalf of insurance
         company against an additional insured in the amount of $1 million arising out of
         personal injury from explosion.

     ▪   Defended breach of painting subcontract action involving Disney World luxury
         apartment project brought by general contractor. Successfully resolved dispute in ADR
         process.

     ▪   Pursued subrogation claims on behalf of large insurer arising out of public water supply
         project in Oklahoma.

     ▪   Lead counsel for drywall subcontractor in arbitration action pursuing claims of
         construction delay and interference damages against general contractor.

     ▪   Lead counsel for general contractor in breach of construction contract claim involving
         alleged defective construction of roof.

     Senior Counsel John Torkelson has been selected to serve on the American Arbitration
      sso    o ’s National Panel of Construction Neutrals.




                                                                                              App. No. 163
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                     Page 167 of 182 PageID 1477


                                                                     Representative Experience
                                                                       Employment Litigation


     ▪   Represented the City of Dallas and the Chief of Police of the Dallas Police Department
         in an appeal before the U.S. Court of Appeals for the Fifth Circuit that affirmed the trial
          o r ’s award of summary judgment.

     ▪   Obtained summary judgment in favor of the City of Dallas on age, gender and race
         discrimination under Title VII, ADEA, 42 U.S.C. § 1983, and the Texas Commission
         on Human Rights Act.

     ▪   Obtained summary judgment in favor of Fortune 500® company on race discrimination,
         hostile work environment and retaliation claims under Title VII.

     ▪   Obtained summary judgment in favor of Fortune 500® company on FMLA retaliation
         claim.

     ▪   Part of trial team that obtained    ke o        judgment in defense of race, age and
         national origin discrimination claims against Fortune 500® company and individuals
         under Title VII and the Texas Commission on Human Rights Act.

     ▪   Assisted with defense of multi-million dollar government contractor, company officers,
         and employees in debarment proceedings initiated by the Department of Labor, Wage
         and Hour Division.

     ▪   Assisted with defense of financial institution in proceedings initiated by the Department
         of Labor, Office of Federal Contract Compliance Programs Division.

     We have also provided counsel and representation in administrative proceedings, state court
     and federal court in employment-related disputes concerning Title VII, the Americans with
     Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act, Fair
     Labor Standards Act, Service Contract Act, and employment agreements. Additionally, we
     review and prepare policies and procedures and Affirmative Action Plans for employers.




                                                                                                 App. No. 164
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 168 of 182 PageID 1478


                                                                    Representative Experience
                                                                         Insurance Litigation



     ▪   Representing hundreds of insureds of numerous insurance companies, including serving
         as counsel for Farmers Insurance Group and Zurich North America Insurance.

     ▪   Successfully defended numerous jury trials involving insurance-related matters, including
         premises liability, personal and commercial auto, personal and commercial property,
         business disparagement, defamation and coverage issues.

     ▪   Representing and counseling numerous clients in insurance coverage disputes, insurance
         recovery claims, and bad faith DTPA actions. Such matters include coverage disputes and
         bad faith/DTPA actions involving property/casualty, personal auto, homeowner, health,
         commercial general liability, director & officer, errors & omissions, and other types of
         policies and coverages.




                                                                                               App. No. 165
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                    Page 169 of 182 PageID 1479


                                                                    Representative Experience
                                                                         Insurance Litigation


     Copyright Litigation

     ▪   Representation of online consumer goods business in Digital Millennium Copyright Act
         matter in the Eastern District of Texas. Obtained a swift, favorable settlement.

     ▪   Representation of doctors in copyright infringement matter involving the Digital
         Millennium Copyright Act in the Northern District of Texas.
     Patent Litigation

     ▪   Representation of major telecommunications and wireless device manufacturer in patent
         infringement suit involving a system and method for transmission of data and contact
         alerts for unconnected users. Case settled on confidential terms a couple of weeks before
         trial in the Eastern District of Texas.

     ▪   Representation of medical benefits virtual payment provider in patent infringement suit
         in the Northern District of Texas. Successful appeal to the Federal Circuit on issue of
         inventorship under the Declaratory Judgment Act.

     ▪   Representation of large, multinational oilfield services company in patent infringement
         suit involving downhole well tool products in the Northern District of Texas.

     ▪   Representation of US-based multinational document management company in patent
         infringement suit in the Eastern District of Texas.

     ▪   Representation of major telecommunications and wireless device manufacturer in patent
         infringement suit involving digital image preview technology in the Northern District of
         Texas.

     ▪   Representation of 3D design software company in patent infringement case in the
         Northern District of Texas.

     ▪   Representation of global financial services company in patent infringement case in the
         Eastern District of Texas and appellate proceedings in the Federal Circuit.

     ▪   Representation of major telecommunications and wireless device manufacturer in patent
         infringement suit involving data transmission in the Northern District of Texas.
     Trademark Litigation

     ▪   Representation of mining company in cancellation proceedings before the Trademark
         Trial and Appeal Board and in related court proceedings in the Northern District of
         Texas.

     ▪   Representation of accounting firm in federal court proceedings against a global tax
         services firm in the Northern District of Texas.

     ▪   Representation of German software company in cancellation proceedings before the
         Trademark Trial and Appeal Board.




                                                                                               App. No. 166
Case 3:17-cv-00155-M Document 100 Filed 03/11/18                   Page 170 of 182 PageID 1480


                                                                   Representative Experience
                                                                        Insurance Litigation


     ▪   Representation of Texas-based financial research and consulting firm in opposition
         proceedings before the Trademark Trial and Appeal Board. Obtained a favorable
         settlement.

     ▪   Negotiated favorable coexistence agreement for financial services company in proceedings
         before the Trademark Trial and Appeal Board.

     ▪   Representation of network security company in opposition proceedings before the
         Trademark Trial and Appeal Board.




                                                                                              App. No. 167
Case 3:17-cv-00155-M Document 100 Filed 03/11/18          Page 171 of 182 PageID 1481



     Principals

        ▪       E. Leon Carter

        ▪       Karen Gren Scholer

        ▪       J. Robert Arnett II
     Partners

        ▪       Joshua J. Bennett

        ▪       Scott W. Breedlove

        ▪       Courtney B. Perez

        ▪       Oscar Rey Rodriguez

        ▪       Linda R. Stahl
     Senior Counsel

        ▪       John S. Torkelson

        ▪       Jennifer C. Wang
     Associates

        ▪       Stacey C. Hernandez
     Senior Of Counsel

        ▪       Judge Gary Hall




                                      CARTERSCHOLER.COM
                                                                            App. No. 168
Case 3:17-cv-00155-M Document 100 Filed 03/11/18   Page 172 of 182 PageID 1482




                            Exhibit LC-B




                                                                     App. No. 169
                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                        Page 173 of 182 PageID 1483
                                                                                                                                                                      Professional = All (Active Only)
Time Entries                                                                                                                                                                Group By Staff Category
                                                                                                                                        Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                                 Task Code = All
                                                                                                                                                                                  Status = Approved
                                                                                                                                                                                      View = Original
                                                                                                                                                                    From 01-01-2015 To 02-26-2018
Date         Status        Approval           BillableType          Task                           Professional                       Start   Stop         Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
01-17-2017   Approved                         Billable                                             Carter, Edgar Leon                                           3.200     800.00          2,560.00
             Participate in conference call; receive and review emails; review draft of lawsuit; communications with co-counsel (M)
01-17-2017   Approved                         Billable                                             Bennett, Joshua                                              5.600     425.00          2,380.00
             Analyze possible RICO claim and revise and finalize complaint (M)
01-19-2017   Approved                         Billable                                             Bennett, Joshua                                              0.200     425.00              85.00
             Communications with co-counsel regarding service (M)
01-20-2017   Approved                         Billable                                             Bennett, Joshua                                              0.600     425.00             255.00
             Communications with co-counsel regarding potential class members and service issues (M)
01-23-2017   Approved                         Billable                                             Bennett, Joshua                                              0.100     425.00              42.50
             Communications with potential clients and co-counsel (M)
01-24-2017   Approved                         Billable                                             Bennett, Joshua                                              0.300     425.00             127.50
             Communications with potential clients and co-counsel (M)
02-02-2017   Approved                         Billable                                             Bennett, Joshua                                              0.600     425.00             255.00
             Outline issues with employee witness and offer of documents along with Rule 202 petition and potential use in gathering evidence (M)
02-06-2017   Approved                         Billable                                             Carter, Edgar Leon                                           0.400     800.00             320.00
             Communications with defense counsel (M)
02-07-2017   Approved                         Billable                                             Carter, Edgar Leon                                           0.400     800.00             320.00
             Communications with defense counsel (M)
02-10-2017   Approved                         Billable                                             Carter, Edgar Leon                                           2.700     800.00          2,160.00
             Review brief in support of TRO (M)
02-13-2017   Approved                         Billable                                             Bennett, Joshua                                              0.100     425.00              42.50
             Attention to TRO issues (M)
02-14-2017   Approved                         Billable                                             Bennett, Joshua                                              1.800     425.00             765.00
             Analyze TRO and related motions and outline issues in connection with the same (M)
02-15-2017   Approved                         Billable                                             Bennett, Joshua                                              1.600     425.00             680.00
             Revise TRO and motion for expedited discovery (M)
02-16-2017   Approved                         Billable                                             Bennett, Joshua                                              5.000     425.00          2,125.00
             Revise TRO motion, motion for expedited discovery, and motion to expedite consideration; compile appendix; finalize motions for
             filing; communications with court regarding the same (M)
03-01-2017   Approved                         Billable                                             Bennett, Joshua                                              0.300     425.00             127.50
             Attention to TRO response (M)
03-06-2017   Approved                         Billable                                             Bennett, Joshua                                              3.700     425.00          1,572.50
             Revise reply in support of various motions and supplemental appendices to the same (M)
03-09-2017   Approved                         Billable                                             Bennett, Joshua                                              1.800     425.00             765.00
             Analyze draft complaint and revise the same (K)

02-26-2018 17:20:30                                                                                                                                                      Page App.
                                                                                                                                                                                1 No.of170          7
                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                     Page 174 of 182 PageID 1484
                                                                                                                                                                Professional = All (Active Only)
Time Entries                                                                                                                                                          Group By Staff Category
                                                                                                                                  Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                           Task Code = All
                                                                                                                                                                            Status = Approved
                                                                                                                                                                                View = Original
                                                                                                                                                              From 01-01-2015 To 02-26-2018
Date         Status          Approval             BillableType      Task                         Professional                   Start   Stop         Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
03-10-2017   Approved                             Billable                                       Bennett, Joshua                                          1.300     425.00             552.50
             Revise draft complaint (K)
03-13-2017   Approved                             Billable                                       Bennett, Joshua                                          0.900     425.00             382.50
             Revise complaint (K)
03-27-2017   Approved                             Billable                                       Bennett, Joshua                                          0.500     425.00             212.50
             Revise class complaint (B)
03-28-2017   Approved                             Billable                                       Bennett, Joshua                                          1.500     425.00             637.50
             Finalize complaint for filing (B)
03-30-2017   Approved                             Billable                                       Bennett, Joshua                                          0.400     425.00             170.00
             Attention to transfer of case (B)
04-05-2017   Approved                             Billable                                       Bennett, Joshua                                          0.900     425.00             382.50
             Attention to consolidation issues (P)
04-07-2017   Approved                             Billable                                       Bennett, Joshua                                          1.200     425.00             510.00
              raft notice of non-opposition (M)
04-17-2017   Approved                             Billable                                       Bennett, Joshua                                          0.300     425.00             127.50
             Communications with co-counsel regarding
04-21-2017   Approved                             Billable                                       Bennett, Joshua                                          0.400     425.00             170.00
             Communications with co-counsel regarding calls with doctors concerning amended complaint (M)
04-25-2017   Approved                             Billable                                       Bennett, Joshua                                          0.500     425.00             212.50
             Analyze settlement issues and issues of ratification (M)
04-28-2017   Approved                             Billable                                       Bennett, Joshua                                          0.200     425.00              85.00
             Finalize motion for extension of time (M)
05-31-2017   Approved                             Billable                                       Bennett, Joshua                                          0.500     425.00             212.50
             Class settlement and expert issues (M)
06-26-2017   Approved                             Billable                                       Carter, Edgar Leon                                       0.500     800.00             400.00
             Communications with co-counsel (M)
06-29-2017   Approved                             Billable                                       Carter, Edgar Leon                                       0.400     800.00             320.00
             Receive and review communication from . Massey (M)
07-14-2017   Approved                             Billable                                       Bennett, Joshua                                          0.500     425.00             212.50
             Analyze settlement options
08-06-2017   Approved                             Billable                                       Carter, Edgar Leon                                       1.500     800.00          1,200.00
             Participate in conference call; review Global Class complaint
08-07-2017   Approved                             Billable                                       Carter, Edgar Leon                                       1.800     800.00          1,440.00
             Telephone conferences with defense counsel regarding filing motion with the court extending the deadlines; telephone conferences
             with court coordinator; receive and review motion

02-26-2018 17:20:30                                                                                                                                                Page App.
                                                                                                                                                                          2 No.
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                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                       Page 175 of 182 PageID 1485
                                                                                                                                                                  Professional = All (Active Only)
Time Entries                                                                                                                                                            Group By Staff Category
                                                                                                                                    Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                             Task Code = All
                                                                                                                                                                              Status = Approved
                                                                                                                                                                                  View = Original
                                                                                                                                                                From 01-01-2015 To 02-26-2018
Date         Status         Approval              BillableType     Task                            Professional                   Start   Stop         Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
08-07-2017   Approved                             Billable                                         Bennett, Joshua                                          1.800     425.00             765.00
             Revise amended complaint
08-08-2017   Approved                             Billable                                         Bennett, Joshua                                          0.700     425.00             297.50
             Analyze issues related to class settlement and indemnity
08-11-2017   Approved                             Billable                                         Carter, Edgar Leon                                       2.400     800.00          1,920.00
             Meet with . Massey; meet with . Massy and R. Allen
08-16-2017   Approved                             Billable                                         Carter, Edgar Leon                                       1.300     800.00          1,040.00
             Review stipulation of settlement
08-18-2017   Approved                             Billable                                         Carter, Edgar Leon                                       1.200     800.00             960.00
             Review stipulation of dismissal
08-18-2017   Approved                             Billable                                         Bennett, Joshua                                          1.000     425.00             425.00
             Attention to issues concerning release of Ascentium and class claims against Ba boa and nivest
08-22-2017   Approved                             Billable                                         Carter, Edgar Leon                                       0.700     800.00             560.00
             Receipt and review of letter from M. Stammel
08-23-2017   Approved                             Billable                                         Carter, Edgar Leon                                       0.600     800.00             480.00
             Review of correspondence to defense counsel
08-25-2017   Approved                             Billable                                         Carter, Edgar Leon                                       1.200     800.00             960.00
             Review of communications from M. Stammel; communications with co-counsel
09-01-2017   Approved                             Billable                                         Carter, Edgar Leon                                       3.800     800.00          3,040.00
             Communications with co-counsel; review first amended and supplemental class action complaint
09-04-2017   Approved                             Billable                                         Carter, Edgar Leon                                       2.900     800.00          2,320.00
             Receive and review various emails; review email regarding 30(b)(6) issues
09-04-2017   Approved                             Billable                                         Bennett, Joshua                                          0.500     425.00             212.50
             Attention to amended complaint
09-05-2017   Approved                             Billable                                         Bennett, Joshua                                          0.500     425.00             212.50
             Analyze class certification issues
09-05-2017   Approved                             Billable                                         Carter, Edgar Leon                                       3.600     800.00          2,880.00
             Review and revise stipulation of settlement; communications with defense counsel; communications with co-counsel
09-05-2017   Approved                             Billable                                         Carter, Edgar Leon                                       2.800     800.00          2,240.00
             Receive and review stipulation of settlement; communications with co-counsel
09-06-2017   Approved                             Billable                                         Bennett, Joshua                                          0.500     425.00             212.50
             Attention to amended complaint
09-12-2017   Approved                             Billable                                         Carter, Edgar Leon                                       3.900     800.00          3,120.00
             Participate in conference call with counsel of record; communications with M. Stammel; participate in call with . Massey and J.
             Lemann; review draft stipulation of settlement

02-26-2018 17:20:30                                                                                                                                                  Page App.
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                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                        Page 176 of 182 PageID 1486
                                                                                                                                                                    Professional = All (Active Only)
Time Entries                                                                                                                                                              Group By Staff Category
                                                                                                                                      Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                               Task Code = All
                                                                                                                                                                                Status = Approved
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                                                                                                                                                                  From 01-01-2015 To 02-26-2018
Date         Status         Approval            BillableType         Task                           Professional                   Start     Stop        Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
09-13-2017   Approved                           Billable                                            Carter, Edgar Leon                                        2.700     800.00          2,160.00
             Communications with . Massey and J. Lemann; review draft stipulation; participate in conference call; review emails from defense
             counsel
09-14-2017   Approved                           Billable                                            Carter, Edgar Leon                                        4.200     800.00          3,360.00
             Telephone conference J. Lemann; preparation for conference call; participate in conference calls; review documents; review
             proposed order
09-15-2017   Approved                           Billable                                            Carter, Edgar Leon                                        2.700     800.00          2,160.00
             Communications with . Massey and J. Lemann; communications with M. Stammell; review exhibits
09-18-2017   Approved                           Billable                                            Carter, Edgar Leon                                        2.400     800.00          1,920.00
             Communications with co-counsel; telephone conferences with J. Lemann; communications with opposing counsel
09-20-2017   Approved                           Billable                                            Carter, Edgar Leon                                        3.600     800.00          2,880.00
              umerous telephone calls with co-counsel; participate in conference calls with counsel of record
09-25-2017   Approved                           Billable                                            Carter, Edgar Leon                                        1.200     800.00             960.00
             Review final version of stipulation of settlement
09-26-2017   Approved                           Billable                                            Carter, Edgar Leon                                        1.300     800.00          1,040.00
             Communications with co-counsel; review final draft
09-26-2017   Approved                           Billable                                            Bennett, Joshua                                           2.000     425.00             850.00
             Finalize motion, memorandum, and stipulation of settlement
10-25-2017   Approved                           Billable                                            Bennett, Joshua                                           0.600     425.00             255.00
             Communications with opposing counsel regarding status of court s approval of class settlement
11-21-2017   Approved                           Billable                                            Carter, Edgar Leon                                        0.600     800.00             480.00
             Telephone conference with Matt Stammell; participate in call with the court
12-05-2017   Approved                           Billable                                            Bennett, Joshua                                           1.000     425.00             425.00
             Analyze intervenor and class issues in light of bankruptcy deadlines
12-14-2017   Approved                           Billable                                            Bennett, Joshua                                           0.300     425.00             127.50
             Analyze intervenor petition in light of bankruptcy issues
01-05-2018   Approved                           Billable                                            Arnett II, Bob                                            2.700     650.00          1,755.00
             Review district court pleadings and bankruptcy court pleadings to prepare motion for relief from stay
01-08-2018   Approved                           Billable                                            Arnett II, Bob                                            2.700     650.00          1,755.00
             Review bankruptcy pleadings and filings; review stipulation of settlement and order preliminarily approving class settlement
01-09-2018   Approved                           Billable                                            Arnett II, Bob                                            3.800     650.00          2,470.00
             Pursue uestions regarding procedural history; prepare motion for relief from automatic stay
01-10-2018   Approved                           Billable                                            Arnett II, Bob                                            5.800     650.00          3,770.00
             Prepare motion for relief from automatic stay; conduct legal research regarding relief from automatic stay; review bankruptcy
             pleadings; revise motion for relief from automatic stay


02-26-2018 17:20:30                                                                                                                                                    Page App. No.
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                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                          Page 177 of 182 PageID 1487
                                                                                                                                                                      Professional = All (Active Only)
Time Entries                                                                                                                                                                Group By Staff Category
                                                                                                                                        Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                                 Task Code = All
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                                                                                                                                                                    From 01-01-2015 To 02-26-2018
Date         Status         Approval           BillableType           Task                           Professional                     Start    Stop        Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
01-18-2018   Approved                          Billable                                              Arnett II, Bob                                             0.200     650.00             130.00
             Pursue status of motion for relief from automatic stay
01-18-2018   Approved                          Billable                                              Bennett, Joshua                                            1.100     425.00             467.50
             Attention to fairness hearing and issues related to bankruptcy
01-19-2018   Approved                          Billable                                              Arnett II, Bob                                             1.700     650.00          1,105.00
             Review email and edits from J. Lemann; confer with A. Chiarello regarding motion for relief from stay; prepare email to A. Chiarello
             regarding certificate of conference; confer with L. Levick regarding motion for relief from stay; prepare notice of appearance and efile;
             prepare proposed order; revise motion for relief from stay and efile
01-22-2018   Approved                          Billable                                              Arnett II, Bob                                             0.700     650.00             455.00
             Confer with L. Levick regarding motion for relief from stay and alleged stay violation; pursue strategy regarding response to L. Levick
01-23-2018   Approved                          Billable                                              Arnett II, Bob                                             2.100     650.00          1,365.00
             Confer with . Massey and J. Lemann regarding issues raised by L. Levick; conduct legal research regarding stay violations
01-24-2018   Approved                          Billable                                              Arnett II, Bob                                             3.200     650.00          2,080.00
             Confer with L. Levick regarding follow-up meeting; conduct legal research regarding class action proofs of claim; conduct legal
             research regarding automatic stay violations
01-25-2018   Approved                          Billable                                              Arnett II, Bob                                             1.800     650.00          1,170.00
             Conduct legal research regarding class action proofs of claim; meet with L. Levick regarding proof of claim and motion for relief from
             stay
01-26-2018   Approved                          Billable                                              Arnett II, Bob                                             1.200     650.00             780.00
             Review case law on class action proof of claim and prepare lengthy email to L. Levick regarding same
01-26-2018   Approved                          Billable                                              Carter, Edgar Leon                                         1.800     800.00          1,440.00
             Receive and review Bacboa Capital s motion and brief in support of dismissal
01-29-2018   Approved                          Billable                                              Arnett II, Bob                                             1.100     650.00             715.00
             Prepare agreed motion to extend time to ob ect to lift stay motion; prepare proposed order; exchange email with R. Allen regarding lift
             stay motion
01-29-2018   Approved                          Billable                                              Carter, Edgar Leon                                         1.900     800.00          1,520.00
             Communications with . Massey; review opinion
01-30-2018   Approved                          Billable                                              Carter, Edgar Leon                                         0.900     800.00             720.00
             Communications with co-plaintiffs counsel; review various emails from other lawyers; review opt out letter
01-30-2018   Approved                          Billable                                              Arnett II, Bob                                             0.800     650.00             520.00
             Exchange email with L. Levick regarding motion for extension of time; revise motion and email to L. Levick; confer with R. Allen and
              . Campbell regarding motion for relief from stay and underlying cases
02-01-2018   Approved                          Billable                                              Arnett II, Bob                                             1.200     650.00             780.00
             Review email from L. Levick regarding motion for extension of time; revise motion for extension of time and email to L. Levick, .
             Campbell, and R. Allen; further revisions to motion and email to L. Levick, . Campbell, and R. Allen; review email from L. Levick and
              . Campbell approving motion; finalize motion and proposed order and efile same
02-01-2018   Approved                          Billable                                              Carter, Edgar Leon                                         1.300     800.00          1,040.00
02-26-2018 17:20:30                                                                                                                                                      Page App. No.of174         7
                         Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                       Page 178 of 182 PageID 1488
                                                                                                                                                                     Professional = All (Active Only)
Time Entries                                                                                                                                                               Group By Staff Category
                                                                                                                                       Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                                Task Code = All
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                                                                                                                                                                   From 01-01-2015 To 02-26-2018
Date         Status         Approval            BillableType           Task                        Professional                    Start     Stop         Duration          Rate          Amount
Melby, Kumar, Bhagia and Patel, et al.
MELB01-0002 MHT Class Action
             Receive and review tax opinion; communications with co-counsel
02-02-2018   Approved                           Billable                                           Carter, Edgar Leon                                          0.400     800.00             320.00
             Review letter from attorney for various potential plaintiffs
02-06-2018   Approved                           Billable                                           Carter, Edgar Leon                                          2.400     800.00          1,920.00
             Receive and review numerous emails
02-06-2018   Approved                           Billable                                           Bennett, Joshua                                             1.500     425.00             637.50
             Analyze ob ections to settlement and outline possible responses to such ob ections
02-07-2018   Approved                           Billable                                           Bennett, Joshua                                             1.100     425.00             467.50
             Attention to response to motion to dismiss
02-07-2018   Approved                           Billable                                           Carter, Edgar Leon                                          0.600     800.00             480.00
             Telephone conference with . Massey and R. Couhig; telephone conference with M. Stammell
02-09-2018   Approved                           Billable                                           Carter, Edgar Leon                                          1.300     800.00          1,040.00
             Review motion for final approval
02-12-2018   Approved                           Billable                                           Arnett II, Bob                                              0.300     650.00             195.00
             Confer with L. Levick regarding class action proof of claim; exchange email with J. Lemann regarding class action proof of claim
02-15-2018   Approved                           Billable                                           Arnett II, Bob                                              4.800     650.00          3,120.00
             Conduct legal research regarding class action proofs of claims; prepare proof of claim; prepare email to J. Lemann and . Massey
             with draft proof of claim; prepare motion to apply class action procedures to proof of claim
02-16-2018   Approved                           Billable                                           Bennett, Joshua                                             1.400     425.00             595.00
             Revise response to Motion to ismiss by Ba boa
02-16-2018   Approved                           Billable                                           Arnett II, Bob                                              4.300     650.00          2,795.00
             Review email from J. Lemann with attached spreadsheet; prepare motion to apply class action procedures to proof of claim; analyze
             spreadsheet of class members against mailing list for claim bar date order
02-19-2018   Approved                           Billable                                           Arnett II, Bob                                              2.400     650.00          1,560.00
               ork on proof of claim; revise motion for class treatment of proof of claim; prepare email to . Massey, J. Lemann, and J. Pastorek
             with spreadsheet and motion
02-20-2018   Approved                           Billable                                           Arnett II, Bob                                              0.100     650.00              65.00
             Review email from J. Lemann regarding motion for class treatment
02-22-2018   Approved                           Billable                                           Arnett II, Bob                                              1.700     650.00          1,105.00
             Review revised spreadsheet; analyze revised spreadsheet against certificate of mailing bar date order; review email and
             spreadsheet from J. Lemann with dollar amounts
02-23-2018   Approved                           Billable                                           Arnett II, Bob                                              1.400     650.00             910.00
             Analyze spreadsheet with dollar amounts; prepare attachment to proof of claim; exchange email with J. Lemann regarding dollar
             amounts
                                                                                                                                    Matter Total            1 3 00                          320 00
                                                                                                                                    Client Total            1 3 00                          320 00

02-26-2018 17:20:30                                                                                                                                                     Page App.
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                      Case 3:17-cv-00155-M Document 100 Filed 03/11/18    Page 179 of 182 PageID 1489
                                                                                                                   Professional = All (Active Only)
Time Entries                                                                                                             Group By Staff Category
                                                                                     Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                              Task Code = All
                                                                                                                               Status = Approved
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Date         Status    Approval   BillableType   Task           Professional        Start Stop          Duration          Rate         Amount
                                                                                     Grand Total         153.400                      99,320.00




02-26-2018 17:20:30                                                                                                   Page App.
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                        Case 3:17-cv-00155-M Document 100 Filed 03/11/18                                Page 180 of 182 PageID 1490
                                                                                                                                                     Professional = All (Active Only)
E pense Entries                                                                                                                                            Group By Staff Category
                                                                                                                       Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                                Task Code = All
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Date           Status            Approval           BillableType        E pense          Professional          Price         ark p                          ty            Amount
Melby, Kumar, Bhagia and Patel, et al.
 ELB01-0002        T Class Action
                                                                                         Hicks
                                                                        E112 - Court
01-1 -201      Approved                             Billa le                             McCullum              00 00                0 00                 1 00                00 00
                                                                        fees
                                                                                         Sandra
               E112 - Court fees Filing Fee Complaint (Mel y)
                                                                                         Hicks
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01-18-201      Approved                             Billa le                             McCullum              25 00                0 00                 1 00                25 00
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               E112 - Court fees Pastorek Application for PHV (Mel y)
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01-18-201      Approved                             Billa le                             McCullum              25 00                0 00                 1 00                25 00
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               E112 - Court fees Massey Application for PHV (Mel y)
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01-1 -201      Approved                             Billa le                             McCullum              25 00                0 00                 1 00                25 00
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               E112 - Court fees Cou ig Application for PHV (Mel y)
                                                                                         Hicks
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01-1 -201      Approved                             Billa le                             McCullum              25 00                0 00                 1 00                25 00
                                                                        fees
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               E112 - Court fees Lemann Application for PHV (Mel y)
                                                                                         Hicks
                                                                        E1 5 - Service
01-2 -201      Approved                             Billa le                             McCullum             260 00                0 00                 1 00               260 00
                                                                        Fees
                                                                                         Sandra
               E1 5 - Service of su poena duces tecum on        efendants (Mel y)
                                                                                       Hicks
01- 1-201      Approved                             Billa le            E108 - Postage McCullum                 1 8                 0 00                 1 00                  1 8
                                                                                       Sandra
               E108 - Postage 01-18-1    udge s copy of complaint to Lindsay (Mel y)
                                                                                       Hicks
02-28-201      Approved                             Billa le            E108 - Postage McCullum                 6 5                 0 00                 1 00                  6 5
                                                                                       Sandra
               E108 - Postage 02-1 -1 T O and Appendi to udge Lindsay (Mel y)
                                                                                         Hicks
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0 -1 -201      Approved                             Billa le                             McCullum              25 00                0 00                 1 00                25 00
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               E112 - Court fees Pastorek Application for PHV ( umar)




02-26-2018 17:21:25                                                                                                                                     Page App.
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                        Case 3:17-cv-00155-M Document 100 Filed 03/11/18                               Page 181 of 182 PageID 1491
                                                                                                                                                    Professional = All (Active Only)
E pense Entries                                                                                                                                           Group By Staff Category
                                                                                                                      Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                                               Task Code = All
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Date           Status             Approval             BillableType     E pense         Professional          Price         ark p                          ty            Amount
Melby, Kumar, Bhagia and Patel, et al.
 ELB01-0002        T Class Action
                                                                                        Hicks
                                                                        E112 - Court
0 -1 -201      Approved                                Billa le                         McCullum              25 00                0 00                 1 00                25 00
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               E112 - Court fees Massey Application for PHV ( umar)
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0 -21-201      Approved                                Billa le                         McCullum              00 00                0 00                 1 00                00 00
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               E112 - Court fees Filing Fee Complaint ( umar)
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0 - 0-201      Approved                                Billa le                         McCullum              00 00                0 00                 1 00                00 00
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               E112 - Court fees Filing fee (B agia)
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0 - 1-201      Approved                                Billa le         E108 - Postage McCullum                22                  0 00                 1 00                  22
                                                                                       Sandra
               E108 - Postage 0 -1 -1     udge s copy of complaint to Lindsay ( umar)
                                                                                        Hicks
                                                                        E112 - Court
0 -05-201      Approved                                Billa le                         McCullum              00 00                0 00                 1 00                00 00
                                                                        fees
                                                                                        Sandra
               E112 - Court fees Filing Fees (Patel)
                                                                                       Hicks
0 -28-201      Approved                                Billa le         E108 - Postage McCullum                 50                 0 00                 1 00                    50
                                                                                       Sandra
               E108 - Postage 0 -0 -1 Copy of complaint to udge Fit water (Patel)
                                                                                        Hicks
                                                                        E112 - Court
01-22-2018     Approved                                Billa le                         McCullum             181 00                0 00                 1 00               181 00
                                                                        fees
                                                                                        Sandra
               E112 - Court fees Filing fees for Motion for elief from Automatic Stay
                                                                                       Hicks
01- 1-2018     Approved                                Billa le         E108 - Postage McCullum                0 6                 0 00                    00                 1 8
                                                                                       Sandra
               E108 - Postage 01-1 -18 otice of appearance to parties
                                                                                       Hicks
01- 1-2018     Approved                                Billa le         E108 - Postage McCullum                0 88                0 00                    00                   52
                                                                                       Sandra
               E108 - Postage 01-1 -18 Motion for relief to parties
                                                                                                                                                atter Total             2,210.37


02-26-2018 17:21:25                                                                                                                                    Page App.
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                        Case 3:17-cv-00155-M Document 100 Filed 03/11/18         Page 182 of 182 PageID 1492
                                                                                                                             Professional = All (Active Only)
E pense Entries                                                                                                                    Group By Staff Category
                                                                                               Client - Matter = MELB01-0002 MHT Class Action (Active Only)
Carter Scholer PLLC                                                                                                                        Task Code = All
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Date           Status        Approval    BillableType   E pense   Professional         Price         ark p                          ty            Amount
Melby, Kumar, Bhagia and Patel, et al.
                                                                                                                       Client Total              2,210.37

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02-26-2018 17:21:25                                                                                                             Page App.
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